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   APPENDIX A
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                                   APPENDIX A
      The Court has previously indicated that it intends to consider relative
culpability when imposing a sentence, expressed a view that Mr. Huizar is the
most-culpable participant in this case, and fashioned a sentence in David Lee’s
case based, in part, on its assessment of relative culpability. See, e.g., Docket No.
1173, 7/21/23 Tr. at 56:3-57:9. Mr. Huizar expects the government to press
culpability and role as aggravating points at his sentencing, and to argue that his
final sentence should reflect not only his absolute culpability – which does not
easily translate into a number of months or years – but his culpability relative to
the conduct and punishments of other participants in this case.
      But it is not possible to conduct a meaningful relative-culpability analysis, or
to impose a punishment based in any part on comparative fault, without truly
appreciating what the relevant players actually did. And because there was never a
trial, significant information about the other participants in this case has never been
aired. Indeed, the government acknowledged this point both implicitly and
explicitly during the process of drafting the factual basis, rejecting certain defense
proposals while noting that the factual basis represents what the government would
prove at trial to establish guilt, not an all-encompassing recitation intended to
capture every qualifying nuance or complexity.
      In light of that, and anticipating the above arguments and sentiments
regarding relative culpability, Mr. Huizar submits this Appendix so that the Court
has a more complete understanding of the other culpable individuals’ conduct and
outcomes. In so doing, Mr. Huizar wants to make that his purpose is not to suggest
that he does not bear significant moral and legal blame. To the contrary, while
everyone else in this case has sought to save himself by throwing all the blame on
Mr. Huizar – including the trial defendants – he alone has pleaded guilty in a
fulsome way without seeking to shirk responsibility for his own conduct by

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pointing fingers. Instead, the purpose of this information is to show the Court that,
as with many complex endeavors, the facts and roles are not as straightforward as
they have sometimes been made out to be, and the true distribution of culpability –
as well as the present need for punishment – is far more compressed than has at
times been suggested. In short, the purpose is to rebut a false characterization of
Mr. Huizar as a lone mastermind and outlier, whose culpability stands in stark
contrast to the other participants and is therefore deserving of a starkly different
sentence, while accepting responsibility for what he did, which his factual basis
describes in 42 pages of painstaking detail.
      If, ultimately, the Court does not intend to consider relative culpability, or if
the government does not make comparative arguments about Mr. Huizar’s role and
need for punishment, Mr. Huizar would be happy to have this Appendix
disregarded, and for the focus of his sentencing to be on other factors discussed in
the Sentencing Position. He has intentionally included this information as an
Appendix for that reason.
                                         ***
            Participant        Disposition                    Sentence
 Jose Huizar                 Straight plea       Unknown
 Neils Cotter                Not prosecuted Uncharged
 Carmel Executives           Not prosecuted Uncharged
 Carmel Partners             NPA                 No-admit NPA, $1.2 million fine
 Fuer Yuan                   Not prosecuted Uncharged
 Hazens employees            Not prosecuted Uncharged
 Hazens                      NPA                 No-admit NPA, $1 million fine
 Businessperson A            Not prosecuted Uncharged
 Ricky Zheng                 Immunity            Uncharged



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 Morrie Goldman              Cooperation         Cooperator, unknown (5-year max)
 George Chiang               Cooperation         Cooperator, unknown
 Justin Kim                  Cooperation         Cooperator, unknown
 George Esparza              Cooperation         Cooperator, unknown
 David Lee                   Guilty at trial     6 years
 940 Hill                    Guilty at trial     Probation, $1 million fine
 Wei Huang                   Pending trial       Fugitive
 SZNW                        Guilty at trial     Probation, $4 million fine
 Raymond Chan                Pending trial       Unknown


      As referenced above and noted in the Sentencing Position, the culpable
participants in this case fall into four categories: (1) culpable participants who
engaged in serious criminal conduct but were not charged at all (Carmel, Neils
Cotter, Hazens, Fuer Yuan, Businessperson A, Ricky Zheng); (2) culpable
participants who engaged in serious criminal conduct but have sought to reduce
their sentences on the premise of truthfully cooperating with the government
(George Esparza, George Chiang, Justin Kim, and Morrie Goldman); (3) culpable
and allegedly-culpable participants who did not admit fault after being charged and
either went to trial or fled (David Lee, 940 Hill, Wei Huang, SZNW, and Ray
Chan); and (4) Mr. Huizar, who alone was charged and accepted responsibility
without attempting to reduce his sentence by shifting blame. Below, Mr. Huizar
provides additional information related to these participants’ relative criminal
culpability and sentencing outcomes.
              a. Uncharged culpable participants.
      The following people and entities were either not charged at all, or, despite
allegations of serious criminal conduct, received Non-Prosecution Agreements.



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engaged are unknown to the defense, but almost certain to exist.
      Despite this, not only does it appear that Businessperson A – a foreign
national with a possible net worth of hundreds of millions of dollars who sought to
illegally influence numerous American elections – will escape prosecution of any
kind, it appears that he may evade responsibility for his extensive electioneering
violations, avoid financial penalties, and be able to keep his identity and reputation
relatively concealed despite extensive criminality.6
      Mr. Zheng. Mr. Zheng, another multimillionaire foreign national, was the
right hand to Wei Huang, best friends with Mr. Esparza, close friends with
Businessperson A, and centrally involved in many of the activities relating to
SZNW. Mr. Zheng also appeared to run a money-transmitting and -laundering
business out of his home, from which Businessperson A, Mr. Esparza, Mr. Chiang,
and others obtained, stored, and moved cash.
      Mr. Zheng’s close relationship with Mr. Esparza, the government’s star
witness, bears particular attention. Beginning no later than November 2015, Mr.
Zheng and Mr. Esparza, who referred to each other as “brothers,” concluded that
“too many people benefit from our relationships” and that they “need[ed] to take
care of [them]selves.” Ex. A-8. Within a matter of weeks, the men began trading
drafts of a consulting agreement, and decided secretly to go into business together.
As Mr. Esparza bragged to a friend in late 2015: he was a “public servant and . . .
start[ing] [his] own company with ricky,” which he described as a real-estate
company “focusing on foreign investment in Los Angeles.” Ex. A-9.
      Throughout 2016, Mr. Esparza and Mr. Zheng secretly attempted to leverage
Mr. Esparza’s official position in order to make money through real-estate deals, a


      6
        The government has represented to Mr. Huizar in writing that there has
been no discussion with Businessperson A or his counsel about immunity or any
benefits related to his cooperation.

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cannabis company, the sale of a nightclub, and setting up business meetings for
Businessperson A in exchange for money. (Mr. Esparza was also engaged in an
extraordinary amount of similar activity with several other people.) Near the end
of 2016, in a note written to himself in advance of a meeting with Businessperson
A, who was secretly paying Mr. Esparza thousands of dollars a month, Mr. Esparza
summarized the nature of his relationship with Mr. Zheng as follows:




      In 2017, following the 940 Hill bribe, Mr. Esparza admits that he took the
money that he received from Mr. Kim to Mr. Zheng’s house. Though, in Mr.
Esparza’s telling, the money was earmarked for Mr. Huizar, Mr. Zheng told the
government that, at various points, Mr. Esparza said that Mr. Zheng was free to
spend the money as he wished, or that they could split it. Ex. A-10. In fact, Mr.
Zheng did spend the cash that he received from Mr. Esparza – his brother and
business partner – but later replaced some or all of it with cash that he received
from other unknown sources. Id. Mr. Zheng stated that this was not the only time
that he received cash to “hold” for Mr. Esparza. Id.
      Separately, and although still denied by the participants, it appears that Mr.
Zheng facilitated a $30,000 cash payment from Mr. Chiang to Mr. Esparza in June
2017. During a trip paid for by money received from Mr. Kim – which Mr.

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Esparza continues to lie about to this day – Mr. Esparza was captured on a wiretap
having the following conversation with Mr. Zheng:




In a note drafted near the end of Mr. Esparza’s time in Mr. Huizar’s office, which
appears to be tallying up the cash that Mr. Esparza personally received (about
which he also continues to lie), the amount attributed to Mr. Chiang is $30,000:




      Mr. Zheng also helped to facilitate Mr. Esparza’s repeated demands that he,


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not Mr. Huizar, should be the one to control the relationship with Wei Huang.
E.g., Ex. A-11. And as Mr. Esparza’s resentment toward Mr. Huizar escalated
throughout 2017, Mr. Zheng and Mr. Esparza successfully worked to poison the
relationship between their respective bosses, both of whom they hated and referred
to simply as “fucker.” Id.
      After Mr. Esparza left Mr. Huizar’s office in late 2017, he joined the office
of State Assemblywoman Wendy Carillo.7 During Mr. Esparza’s tenure in Ms.
Carillo’s office, he continued to pursue a financial relationship with Wei Huang
through Mr. Zheng. In May of 2018, while Mr. Esparza was working as Ms.
Carillo’s Chief of Staff, he went on at least one trip to Las Vegas with Mr. Zheng
and Wei Huang during which it appears that he received at least $20,000:




      Throughout his cooperation, Mr. Zheng repeatedly lied to the government.
He was centrally involved in the activities underlying the SZNW bribe. He was
running an illegal money-transmitting and -laundering business out of his home.

      7
        During the 940 Hill trial, Mr. Esparza claimed that this change resulted
from a reawakening of his “moral compass” following his interviews with the FBI,
which caused him to reconnect with his true purpose as a man and public servant.
Docket No. 562, 940 Hill at 1086:4-10. In reality, his pitch when interviewing for
the job with Ms. Carillo was that nobody in the city could do what he did given his
control over Chinese money and power. Ex. A-12. As with his job in Mr.
Huizar’s office, Mr. Esparza soon came to resent Ms. Carillo. Ex. A-13. And in
multiple communications, he was clear that his goals for the job were the same as
the ones that he had in Mr. Huizar’s office: to consolidate his own political power
and one day be the Mayor of Los Angeles and Governor of California, while at the
time “milk[ing] the opportunity” financially before “get[ing] out.” Exs. 13-14.


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And he was engaged in numerous illegal schemes with Mr. Esparza, who was at all
times a public official. Nonetheless, Mr. Zheng was granted full immunity from
prosecution, and will thus escape accountability of any kind.
                                        ***
      Without belaboring the points, there are at least three things to note about
the uncharged culpable participants. First, unlike Mr. Huizar, they have all
devoted their lives to personal enrichment, and to the extent that they have
contributed anything to the betterment of the community, like owning or building
properties, it has only been when doing so coincided with their financial interests.
Second, this is not simply a case where these men are facing lesser consequences
for their criminal conduct; none of them is facing any consequences at all. Third,
although this case has been styled as one about holding power to account, all of
these people are wealthy and powerful – some extravagantly so – and are
nonetheless receiving a free pass despite, especially in some cases, engaging in
pervasive criminal conduct undermining democratic self-government.
             b. Cooperators
      The next group of culpable participants is the cooperators. The central
premise of the cooperation agreements in this case was that Mr. Huizar was the
leader of a RICO bribery enterprise centered around his political power, and that
the other participants were his loyal followers. United States v. George Esparza;
CR-20-208-JFW, Docket No. 9, Ex. A ¶ 2; United States v. George Chiang; CR-
20-203-JFW, Docket No. 7, Ex. A ¶ 2. This premise is reflected not only in the
factual bases of the cooperators’ plea agreements, but in the sworn testimony of
people like Mr. Esparza, who described himself as one of Mr. Huizar’s “most loyal
staff members,” Docket No. 821 SZNW Tr. at 739:11, and referred to Mr. Huizar
as his “role model” and “hero,” Docket No. 561, 940 Hill Tr. at 1076:12-19,
1086:1-3], and who told the government during interviews that his “loyalty” to Mr.

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Huizar was an essential component of the enterprise.
      In truth, the cooperators were all ambitious men who sometimes sought to
work with Mr. Huizar, but just as often, and with increasing frequency over time,
worked without him or against him. By no later than 2016, few of the cooperators
harbored any loyalty for Mr. Huizar, whom they complained never did anything to
help them. As their resentment grew, they began staking out on their own, while
taking pains to hide the true nature of their relationships and separate schemes
from Mr. Huizar. By 2017, several of the cooperators – including Mr. Esparza,
Mr. Chiang, Mr. Zheng, and Mr. Kim – concluded that they did not need Mr.
Huizar because they, not he, controlled the money and key relationships. In 2018,
Mr. Esparza, Mr. Kim, and others orchestrated a campaign to destroy Mr. Huizar’s
reputation through lawsuits filed by two of Mr. Esparza’s former lovers and his
close friend (and business partner in a secret cannabis venture), all of whom were
represented by Mr. Esparza’s lawyer. As explained by Mr. Esparza at the time, the
explicit goal of this campaign was the opposite of the goal at the core of the RICO
enterprise to which he swore in his plea agreement: to destroy Mr. Huizar’s career
and ensure that his wife would fail in her bid to succeed him in CD-14 and, in the
process, clear space for a CD-14 run either by his new boss or, possibly, himself.
      Mr. Esparza. Because it is nearly impossible to capture all of the
contemporaneous misconduct in which Mr. Esparza engaged and all the lies that he
has since told throughout this proceeding, Mr. Huizar will, time permitting, and if
relative-culpability is going to be an issue, submit a separate supplement focused
exclusively on Mr. Esparza. For present purposes – and while emphasizing the
surface-scratching nature of the information – Mr. Huizar provides below a few
examples, focusing on key claims that have been made under oath in this
courtroom.
      A needless lie within the first minute. In the first minute of his well-

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practiced testimony at the 940 Hill trial, Mr. Esparza was asked to describe his
educational background. His response was that he received his B.A. from U.C.
Santa Barbara in 2009, and, after graduating on a Sunday, started work in Mr.
Huizar’s office the following Monday. Docket No. 561, 940 Hill Tr. at 915:19-
916:7. Almost every part of that answer was a lie. Mr. Esparza did not receive his
B.A. from U.C. Santa Barbara in 2009; the degree was conferred in 2021, as this
case was ongoing. Ex. A-15. He did not start the work on the Monday after U.C.
Santa Barbara’s June 2009 graduation ceremonies; he started on September 14,
2009. Ex. A-16. And according to the competing resumes littered throughout the
discovery, the exact nature and date of Mr. Esparza’s degree was a matter of some
debate for many years. Ex. A-17. Mr. Esparza has admitted to at least one
formerly-close friend that he lied about his graduation in order to secure a job in
Mr. Huizar’s office.
      Substantively, and especially compared to other lies that Mr. Esparza told
under oath, Mr. Huizar acknowledges that this is comparatively-slight perjury.
Nonetheless, he mentions it because these were virtually the first words out of Mr.
Esparza’s mouth the first time he ever testified in a federal criminal trial. His
willingness to tell this needless lie within the first minute on the stand – seemingly
for the sole purpose of self-aggrandizement – reflects a striking disregard for his
oath, and a level of confidence in his ability to deceive without consequence that
should give everyone significant pause.
      Mr. Esparza falsely attributes a 940 Hill note to Mr. Huizar. Turning to
the opposite end of the spectrum and a far more-substantive lie, the conventional
wisdom for cooperators – especially cooperators with credibility problems – is that
they are no better than their corroboration. To that end, perhaps the most-powerful
evidence in the entire case was Mr. Esparza’s contemporaneous notes and videos
related to the 940 Hill bribe. Mr. Esparza testified that he kept meticulous records

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of this crime – and all other meetings with Mr. Huizar – because he wanted to be
an exceptional professional and make sure that he followed Mr. Huizar’s directions
precisely. See, e.g., Docket No. 561 940 Hill Tr. at 963:3-10, 995:6-16.8
      Of course, another commonsense possibility was that, rather than following
Mr. Huizar’s lead, Mr. Esparza was orchestrating the 940 Hill bribe and creating
evidence in the event that, at some point in the future, he needed to save himself by
throwing all of the responsibility on Mr. Huizar. And there were multiple reasons
that a jury could believe that was true:
    Mr. Esparza had multiple secret financial interests in the 940 Hill project,
     and stood to personally benefit from having the project entitled quickly.9
    The act of documenting the crime was, itself, remarkably odd, and, to any
     normal observer, had an air of prospective blame-shifting throughout.10
    Mr. Esparza told several internally conflicting stories about what should
     have been a highly-memorable event over the course of his cooperation,
     including about the amount of the bribe and how much money he personally
     received. Mr. Esparza’s stories also conflicted with Mr. Kim’s on key and

      8
         Mr. Esparza also has a pronounced tendency toward exaggeration and
speaking in absolutes. He testified at the 940 Hill trial that, after “every” meeting
with a developer, Mr. Huizar would “always” instruct him to engage in some sort
of pay-to-play activity. See, e.g., Docket No. 561, 940 Hill Tr. at 926:2-5, 927:7-
18. Combined with his testimony about “always” taking meticulous notes to
ensure that he followed Mr. Huizar’s illegal instructions perfectly, that testimony
would imply, literally, hundreds or thousands of notes in his phone supporting pay-
to-play conduct. Those notes do not exist. And, importantly, no transaction was
documented in as much detail as 940 Hill. Indeed, even focusing only on the
schemes charged in this case, the contrast between Mr. Esparza’s documentation
related to 940 Hill and his documentation of the other schemes is stark.
       9
         On one side of the transaction, he had a secret side deal with Mr. Kim, who
was representing David Lee and 940 Hill, and expected to get a percentage of the
seller’s commission on any sale. On the other side of the transaction, he had a
secret side deal with Mr. Chiang in the event that his client, R&F, bought the
property. And, as reflected in wiretap recordings, all three men agreed to conceal
their personal stake in the 940 Hill deal – and even how Mr. Kim and Mr. Chiang
knew each other – from Mr. Huizar.
       10
          For example, rather than simply saying no to the bribe, or reporting the
alleged bribe to someone else, Mr. Esparza took photos of piles of cash with notes
that he wrote on a napkin attributing the criminal activity to Mr. Huizar. He then
deposited the money with his friend, Mr. Zheng, with whom he was in business
and who held other illicit cash for Mr. Esparza at his home in SGV. But he did
not, for example, tell someone else outside of the scheme in order to protect
himself.

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      memorable details, like the number of “drops” and the amount of money
      conferred.11
    Other notes in Mr. Esparza’s phone suggested that he received far more
     money from Mr. Kim ($155,000) than he told the government, admitted at
     trial, or could be justified by his version of events.12
    Mr. Esparza’s story conveniently made him the only witness, recorder, and
     participant in all of the key conversations with Mr. Huizar.
    Although Mr. Huizar had been in public life for over 15 years and involved
     with hundreds of major projects between the School Board and Council, the
     most brazen crime of which he is accused, which is different in kind than the
     other charges in this case, just happened to be on a project where Mr.
     Esparza had a secret financial stake, was creating odd and unusual
     documentation, claimed conveniently to be the only witness and recorder of
     every key communication with Mr. Huizar, and told stories about a highly-
     memorable event that changed significantly over time and appeared to
     conflict with other contemporaneous documentation and recorded
     statements, as well as the testimony of Mr. Kim.
      Needless to say, the importance of reliable corroboration to support Mr.
Esparza’s testimony was paramount. And the integrity of his notes and recordings
– as objective and independent grounding for his after-the-fact retelling – was
critical to the prosecution. If believed, it had the power to make the case. But if a
jury came to believe that Mr. Esparza had fabricated the corroboration and was
lying about the events after the fact, then the power of the evidence could run in
the opposite direction, irretrievably tarring him, the prosecutors who sponsored his
testimony, and the core of the prosecution.
      Against that backdrop, Mr. Esparza offered practiced testimony on direct


      11
           One notable conflict was whether there was a first money drop on
February 10, 2017 and a second money drop on March 14, 2017 (Mr. Esparza’s
story), or only a single money drop on March 14 (Mr. Kim’s story). As may be
discussed in the aforementioned supplemental filing, public fundraising records
and contemporaneous communication suggest another reason for Mr. Esparza’s
visit to Crocker Street on February 10. And, according to Mr. Esparza’s own
statements, there was no bribe amount agreed on February 10, and he was not
expecting to receive money from Mr. Kim on that day.
        12
           In a wiretap call from June 2017, he also stated that he was able to pay for
at least part of his brother’s wedding and take his grandparents on a trip thanks to
money he had gotten from Mr. Kim. This money was not accounted for the in the
story that Mr. Esparza told at trial. [Exhibit]

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examination about a note, shown below, created at 9.29 a.m. and January 18, 2017.




Specifically, and as with his testimony about other notes and self-generated
documentation, Mr. Esparza testified that he created this note contemporaneously
during a conversation involving only him and “Councilmember Huizar,” and that
“these were talking points directly from the councilmember.” Docket No. 561 940
Hill Tr. at 1010:9-1011:8.
      This testimony was a lie. When Mr. Esparza created this note, he was not
meeting with Mr. Huizar. Rather, he was meeting with Scott Yamabe, a friend of
his and a nascent developer of a project at the Flower Mart. Indeed, the evidence
on this point is compelling and indisputable.
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Third, at the time this note was written, Mr. Huizar was either speaking at a
groundbreaking event or on his way to City Hall for Council:13




Finally, lest there be any doubt, the call log from Mr. Esparza’s phone shows that
he did not have a call with Mr. Huizar around the time that this note was created:14




      13
          By this point, and contrary to the impression given by his trial testimony,
during which he claimed to be by Mr. Huizar’s side at all relevant times, Mr.
Esparza was no longer Mr. Huizar’s driver, and had not been for two months.
       14
          Although there was a call to City Hall at 10.20 a.m., Mr. Huizar was in
Council at that time. See L.A. City Clerk, Transcript of January 18, 2017 10 a.m.
City Council Meeting (“Mr. Clerk we have aquorum, would you call the roll. >>
cedillo, krekorian, blumenfield, ryu, koretz, fuentes, harris-dawson, price, bonin,
o'farrell, huizar, buscaino, martinez, wesson. 10 members present and a quorum”),
https://lacity.granicus.com/TranscriptViewer.php?view_id=129&clip_id=16565

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      In short, Mr. Esparza – who, again, had a secret financial stake in the 940
Hill project and was eager to see it entitled as quickly as possible – lied about this
note and, in the process, put incriminating words in the mouth of Mr. Huizar that
he did not speak, during a meeting that they did not have. His testimony about this
note was nearly identical to his testimony about several other notes and pieces of
ostensible corroboration, the single-source nature of which made them difficult to
definitively prove or disprove. As the Court presumably appreciates, it is hard to
overstate the importance of this lie in the context of arguably the most-explosive
scheme in the case.15
      Other points. There is much more to say about Mr. Esparza, which Mr.
Huizar hopes to do in a supplement. For now, he offers a two additional notes:
      Mr. Esparza’s true purpose and M.O. in Mr. Huizar’s office. In both text
messages and wiretap calls, Mr. Esparza was emphatically clear about his hatred of
Mr. Huizar, his goals for public office, and how he intended to achieve them
without Mr. Huizar. Throughout 2016 and 2017, he sent dozens of messages
complaining about how much he “hates this motherfucker,” Ex. 18, how he and the
other coschemers found Mr. Huizar to be entirely unhelpful to their objectives,16
and how he didn’t need Mr. Huizar because he, Mr. Kim, Mr. Chiang, and Mr.
Zheng controlled Chinese and Korean money and power.
      To offer just a few examples, on August 24, 2016, while simultaneously

      15
          To be clear, and as admitted in the plea agreement, Mr. Huizar knew about
this bribe, helped to facilitate it in certain ways, and ultimately asked for the
money, all decisions that were egregiously misguided and for which he has pleaded
guilty. But the genesis and flow of traffic for this scheme was running from Mr.
Esparza to others, not the other way around.
       16
          For example, during a call with Mr. Chiang, Mr. Esparza summarized the
recurring complaint about Mr. Huizar not actually taking official action to help
people that Mr. Esparza wanted to help and other “friends of the office”: “I'm
selling a product that doesn't deliver. You're saying it's going to jump right? And
people are banking on that. You press the button it doesn't jump. It doesn't fucking
jump. You know? And so you gotta like be, and as much as you're like George you
gotta take control, I try and he fucking stops me. You know what I mean?”

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expressing to a business partner how much he “hate[s] this motherfucker” and how
he wakes up every day thinking about how he can make money with his friends,
Mr. Esparza wrote a note in his phone containing his essential business pitch: “I
manage all the chinese and foreign investors That are looking for business
development in downtown Los Angels.” Ex. A-19. In April 2017, Mr. Esparza
explained to his part-time lover, Mayra Alvarez, his “number one goal” of public
office:
       [R]emember I told you that my number one goal, money. Money,
       money, money. Whatever osition to help me create opportunities to go
       get money right? So, that's, that's what my, that's what my, ah, my job
       is right? MA yeah GE ...I build my empire quietly, you know what I
       mean?

In May 2017, Mr. Esparza and Mr. Chiang commiserated with each other about
“suffering through” two more years of Mr. Huizar even though they did not need
him:
       GC: Right. Hey, but we don’t care George. By then we suffer through
       these two and half years by then someone else comes along, its very
       easy for us to build the relationship. GE: Yeah. Oh yeah. GC: Right?
       GE: No right, I mean, we’re the ones, yeah, we have the relationship
       right. And yeah, whoever the elected official is, you know, they’re
       going to want to meet them, but if we’re the contact person. George
       you represent, top what, top 5 of all the Chinese companies in
       downtown right now? Right? Top, the main ones, R&F, Hazen,
       Oceanwide, um. GC: Yeah. You know, I walked in there with not
       knowing, anybody. GE: Yeah. GC: You know once we supported
       Jose, but then with Herb, with Mitch Englander, with Curren. I have
       nothing with them, but within a year and a half we’re tight. And they
       are actually helping. So don’t worry about that. But let’s keep this
       ship afloat for the remainder and then you know, shit man then we
       figure out contingency plan. I kinda of wish that he’s not going to
       fucking win. He, when he turns out, you know, I think, he, if he
       doesn’t do it right, you know, if somebody else wins they might be
       better for us, shit.
       ***
       GC: But see the issue is timing right? GE: Yeah. We have like maybe,
       I say this year, I mean he is already becoming irrelevant right? And
       you and I both know that. We could do work without him. We don't
       fucking need him.
That same month, in a call with Ms. Alvarez, Mr. Esparza again reiterated his top


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      Mr. Esparza’s fundraising methods. During his trial testimony, Mr. Esparza
described a pay-to-play scheme that he was quick to attribute entirely to Mr.
Huizar, at whose direction he purportedly “always” acted. In reality, Mr. Esparza
was running his own dishonest fundraising program mostly without Mr. Huizar’s
participation. An example of this can be heard in a wiretap call that Mr. Esparza
had with best friend, where he proudly described his own personal “tricks” for
raising money on Mr. Huizar’s behalf without his knowledge. In that call, Mr.
Esparza explained how he would make “asks” to developers on behalf of Mr.
Huizar even though his boss “[f]ucking doesn’t even know”:
      AL: Going on man? GE: Nothing. Nothing much dude. Just, trying to
      had to raise 20-K in fucking three days. So I'm at fifteen thousand
      right now. So I gotta figure out who I'm sell myself to. AL: Are you
      serious? [laughs] GE: Nah, I- I- dude I collected fifteen thousand
      dollars in two day- in a day. So then I'm waiting- AL: Fuck GE: -for
      one guy to, to, um, get back to me but. I already know I have a plan.
      Was like. It's uh, you know guys that can right a check that quick.
      Right? So AL: Yeah. GE: If everyone comes through I'll be, thirty five
      thousand. But I'll just tell those guys- I'll- I'll trick em right? I'm- oh
      well since you know, you know, we can't take this, we already made
      our commitment. You know, you could use this five thousand for
      something else. [laughs] AL: [laughs] GE: So I got a bunch of five
      thousand dollar commitments. But I'm just trying to figure out who
      gets to me first. So. AL: Fuck man. Collect that money George. GE:
      Mmm. It is man. Just gotta figure out- I gotta- oh- figure out planning,
      and, fucking, oh they got projects up. I'm all- hey councilor asked me.
      I just [UNI] at this point now it just comes automatic. Right? I only
      mean for me. Oh my boss is asking if you could please help with this
      this and this. Oh, Jose asked me, yeah Jose gave me your number.
      Fucking doesn't even know I'm calling you.”
An example of this trick can be seen in Exhibit A-22. In another call, Mr. Esparza
explained to Ms. Alvarez, his part-time lover, that he was using fake meetings
scheduled without Mr. Huizar’s knowledge in order to extract contributions from
developers and meet his fundraising goals:
      GE: I need a couple of dates for um, the Neman [reference to GE
      #322 & #323, will support Monica Rodriguez (CD7), but need a
      meeting with HUIZAR to discuss downtown projects] meeting I
      mentioned about yesterday because I need to send him a date first
      because he's holding some contributions from me, so MA: I'll do it
      right now GE: Alright, let's think, not next week or the following

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      week is crazy, you know, um, but maybe the, uh, towards the second
      or the last week or something, you know what I mean? I just - MA:
      Alright GE: I just want to do one date, we could always reschedule it,
      I just want to give him a date. Just like, get the fucking contributions,
      you know what I mean? I need a date. MA: And who is it? GE: It's
      with, oh, uh, Daniel Neman they have a project in the Arts District, so,
      look I'm going to see if he can come through, if he doesn't come
      through then we're fucking canceling the meeting. MA: Alright GE:
      Just give me like a day, like, bullshit date or something, mmkay? MA:
      Alright.
      In considering this information, it is important for the Court to understand
the true dynamics of Mr. Huizar’s office and the nature of his relationship with Mr.
Esparza. Mr. Huizar was an extremely busy Councilmember who often worked
12-hour days running from meetings, to City Hall, to community events, to family
gatherings. At any given time, he had dozens of people vying for his attention.
      He was also responsible for raising substantial amounts of money for
numerous causes and people other than himself. With the exception of certain
campaigns involving large-dollar donations – like HHH and the PAC to support his
wife – Mr. Huizar, like other officials, outsourced much of that work to someone
with a proven ability to raise money. As is reflected throughout the discovery, Mr.
Huizar would typically give Mr. Esparza, and sometimes his outside fundraiser,
Christina Kegeyan, targets to hit, and then largely leave it to them to raise the
funds on their own. As Mr. Esparza himself explained in an April 2017 call with a
fundraiser for another Councilmember: “You know we're fund-raising for so many
other people too so I'm running . . . [Mr. Huizar] rarely does any calls or does any
of this other stuff, he just wants the results.”
      By late 2016, Mr. Esparza was no longer working as Mr. Huizar’s driver,
and although he had a day job, his principal role in Mr. Huizar’s professional life
was raising money for various causes. At this point in time, he secretly hated Mr.
Huizar and was entirely focused on misusing his position in order to make money
and cultivate political power on his own. Yet, as made clear in numerous texts and
calls, he understood that, in order to keep Mr. Huizar out of his business and meet

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these personal objectives, he had to deliver on any fundraising commitment that
Mr. Huizar gave him.
      He did that many times through legitimate means, at least in our system of
privately-financed political activity. But, as seen above and revealed elsewhere in
the discovery, he also did it by numerous dishonest means, including by dangling
the prospect of meetings or official action to extract money when Mr. Huizar
“fucking d[id]n’t even know.” While Mr. Esparza doe-eyed recasting of events
has since thrown all of this pay-to-play activity on Mr. Huizar, the reality at the
time was far different from the story being now told.
                                         ***
      Mr. Huizar’s defense team has reviewed Mr. Esparza’s conduct in detail, as
well as hundreds of thousands of his communications from his time in Mr.
Huizar’s office and beyond. It has talked to witnesses who know him well. It has
compared his trial testimony, the factual basis of his plea agreement, and
statements made to the government during interviews with other contemporaneous
documents, the statements of other witnesses, and conflicting statements by Mr.
Esparza himself. His record of dishonesty and criminality is breathtaking, and has
continued throughout his ostensible cooperation and the trials in this case. Simply
put, he embodies Judge Trott’s famous caution about criminal cooperators:
      Criminals are likely to say and do almost anything to get what they
      want, especially when what they want is to get out of trouble with the
      law. This willingness to do anything includes not only truthfully
      spilling the beans on friends and relatives, but also lying, committing
      perjury, manufacturing evidence, soliciting others to corroborate their
      lies with more lies, and double-crossing anyone with whom they come
      into contact, including – and especially – the prosecutor . . . .
      Criminals are remarkably manipulative and skillfully devious. Many
      are outright conscienceless sociopaths to whom ‘truth’ is a wholly
      meaningless concept. To some, ‘conning’ people is a way of life.
Stephen S. Trott, Words of Warning for Prosecutors Using Criminals As
Witnesses, 47 Hastings L.J. 1381, 1383 (1996).


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close relationships with nearly all of the council offices.
      Like any good lobbyist, Mr. Goldman had a penchant for telling people what
they wanted to hear. And even had a catch phrase of sorts. When speaking with
council offices, he assured representatives that he had two jobs: to protect his
client, and to protect the Councilmember. When speaking with clients, many of
whom paid monthly fees north of $10,000, Mr. Goldman assured them that his job
was to represent their interests.
      In reality, Mr. Goldman played both sides for his own personal benefit, and
often operated under multiple conflicts of interest. At bottom, what Mr. Goldman
sold his clients was access to the council offices; and what he sold the council
offices was access to his clients’ money for political donations. When speaking
with clients, Mr. Goldman would represent – typically with an implication that the
message was coming directly from the elected official – that some action could get
done with just a little more donative activity. At the same time, when speaking
with Councilmembers and staff, Mr. Goldman would stress his willingness to
collect contributions from his clients, whom, he assured the officials, were eagerly
waiting to donate. Along the way, Mr. Goldman was able to increase his access to
and goodwill with Councilmembers by using his current clients’ money, which
access and goodwill he in turn sold to future clients, which he in turn converted
into additional five-figure monthly retainers for himself.
      Mr. Goldman’s personal records and Urban Solutions’s public filings offer
at least partial insight into this process. Along with directing PAC contributions,
which are not captured in these materials, Mr. Goldman, who was barred from
personally donating due to lobbying restrictions, was responsible for dozens of
fundraisers involving numerous officials at which his clients and their proxies
donated hundreds of thousands of dollars. Ex. A-24. As discussed above in
connection with Carmel, Mr. Goldman repeatedly urged clients to contribute to

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recalled situations through his ‘own prism’ and presented information as he
perceived it to be, but not from a bigger perspective.” In the meantime, Mr.
Goldman explained, his “attorney [had] advised [him] to conduct a more critical
analysis from a bigger picture and from the FBI’s view point.” Mr. Goldman
further stated that, “viewing the situations from that perspective, [he] understood
things to be differently than originally perceived. [He] did not want to minimize
his role, but wanted it understood that he simply viewed the situation differently.”
Unlike the first interview, where Goldman rebuffed the government’s narrative
about Mr. Huizar, in this second meeting, he endorsed it and claimed that Mr.
Huizar had engaged in an illegal bribe involving Carmel.
      In case the foregoing isn’t sufficiently clear: it is likely that Mr. Goldman
engaged in other uncharged corrupt activity and, realizing that he was about to
become a target, made a calculated decision to give up whatever incriminating
information he could about Mr. Huizar, on whom he knew the government was
focused, in order to avoid a more significant inquiry into his own activities.20 His
statements to the government have not only been inconsistent, they have been so
inconsistent in such short order as to raise real questions about anything that he
says. Despite lying to the FBI and engaging in charged (and likely uncharged)
corruption in connection with (at least one) nine-figure development project, Mr.
Goldman was allowed to plead to a § 371 conspiracy with a five-year statutory
maximum.21

      20
            In his January 16, 2019 interview with the government, Mr. Goldman
described what made various councilmembers tick, as well as the gifts and
personal benefits that they enjoyed. While that information was redacted from the
302 provided to the defense, it was unredacted in a set of notes from the interview.
         21
            In connection with his plea agreement, Mr. Goldman’s counsel released
the following press statement about his client – a grown man, wealthy lobbyist,
former Chief of Staff to two Councilmembers, and quintessential City Hall insider:
“[Mr. Goldman] allowed himself to become part of the orbit of a very corrupt man
. . . .; By cooperating with the government's investigation, Morrie is reclaiming the
moral ground he ceded to Jose Huizar, and my client will do everything he

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                                           ***
       With only the possible exception of Mr. Goldman, all of the key cooperators
in this case appear to have engaged in substantial criminal activity without Mr.
Huizar’s knowledge or participation. All of the key cooperators lied to the
government repeatedly, and sometimes flagrantly, during their interviews. All of
the cooperators’ stories became more inculpatory to Mr. Huizar and other charged
defendants over time. Most troublingly, at least one of the key cooperators – Mr.
Esparza – perjured himself repeatedly during earlier trials in this proceeding.
While the cooperators also have factors in mitigation – both personal and related to
their truthful cooperation – and while there may still be a culpability gap between
Mr. Huizar and some of the cooperators (excluding Mr. Esparza), that gap is not as
wide as has sometimes been suggested throughout this case.
              c. Trial defendants or fugitives
       The final category of culpable participants in this case are the defendants
who were charged and did not cooperate. As referenced in the Sentencing
Position, and as is otherwise evident, Mr. Huizar has similarities and differences to
these defendants. Compared to Mr. Lee and Wei Huang, each of whom only
participated in a single scheme, Mr. Huizar had a greater role in the offense and
was a public official. On the other hand, and also in distinction to Mr. Chan, he
fully accepted responsibility for his conduct without a trial, not only conserving
significant resources at trial and appeal, but bringing closure and finality to a
painful chapter for the city. With the partial exception of Mr. Chan, Mr. Huizar is
also unlike Mr. Lee and Wei Huang in that (1) he spent the majority of his career
in public service, rather than only pursuing personal enrichment, and has a record


lawfully can, for as long as it takes, to make things right . . . . It's a cautionary tale
of how even for a person of integrity and a previously unblemished record, like
Morrie Goldman, all of this can happen."

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of large and small achievements that have meaningfully bettered the lives of many
people; (2) he has been the target of the most-intense notoriety and public
opprobrium; (3) he will be ruined by the outcome in this case in a way that the
wealthy defendants will not; and (4) he is apparently the only person from whom
the government is seeking restitution, among other things.
      Of course, each of these culpable participants has aspects of their conduct
and character that place upward and downward pressure on the appropriate
sentence. But the importance of Mr. Huizar’s fulsome and contrite acceptance of
responsibility, along with his other favorable characteristics, should not be
overlooked. Even if the Court concludes that his conduct in this case was more
culpable than, for example, Mr. Lee, and even if it gives him the longest sentence
in the case, other factors counsel in favor of a sentence not dramatically longer
than these or other participants.




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    EXHIBIT A-1
            Case
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                                                              Secretary of State   12/28/23      PageFinance
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            Case
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            Case
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                                                   California              Filed- CalAccess
                                                              Secretary of State   12/28/23      PageFinance
                                                                                            - Campaign 41 of 185 Page ID
                                                               #:28213
                               Campaign Finance:
                               CARMEL PARTNERS AND AFFILIATED
                               ENTITIES
                                Election Cycle:
                                     2023 through 2024
                                     Historical
                                           2021 through 2022
                                           2019 through 2020
                                           2017 through 2018
                                           2015 through 2016
                                           2013 through 2014
                                           2011 through 2012
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                               View Information:
                               (Due to the amount of data, these pages may take some time to load.)
                                  General Information
                                   Contributions Received
                                   Contributions Made
                                   Expenditures Made
                                   Late and $5000+ Contributions Received
                                   Late Contributions Made
                                   Late Independent Expenditures
                                   Electronic Filings



                                 This is the official name of the committee, political party, or major donor as registered
                                 with the Secretary of State.



                                 FILER ID:

                                 1387820



                                 FILER PHONE:

                                 (415) 273-2900


                                 SUMMARY INFORMATION - CARMEL PARTNERS AND AFFILIATED ENTITIES (ID#
                                 1387820)

                                 CURRENT STATUS                                         ACTIVE

                                 LAST REPORT DATE THIS SESSION                          01/31/2019

                                 REPORTING PERIOD                                       07/01/2018 - 12/31/2018

                                 EXPENDITURES FROM THIS PERIOD                          $616,250.00


https://cal-access.sos.ca.gov/Campaign/Committees/Detail.aspx?id=1387820&session=2017                                        3/4
            Case
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                                                               #:28214
                                 TOTAL EXPENDITURES 1/1/2018 - 12/31/2018               $676,349.00




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    EXHIBIT A-3
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    EXHIBIT A-4
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    EXHIBIT A-5
FD-302a (Rev.Case
              5-8-10) 2:20-cr-00326-JFW       Document 1228-19 Filed 12/28/23 Page 50 of 185 Page ID
                                              194B-LA-255 905 Serial   1529
                                                                   #:28222
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        HUIZAR's text about "loose ends" was a reference to HAZENS contributing to the PAC.
        Everything was approved for the entitlements so HUIZAR wanted the money for the PAC.
        Following the text, CHIANG met HUIZAR for breakfast at La Parrilla. HUIZAR stressed
        about the PAC and said HAZENS needed to contribute to the PAC since HUIZAR approved
        the project.

        In approximately May or June 2019, CHIANG ran into HUIZAR on Lebennon Street and 7th
        Street. HUIZAR parked his car and asked how CHAN w^as doing. CHIANG told HUIZAR that
        he and CHAN no longer worked together. HUIZAR said he suspected that and said
        something about life being turned upside down. CHIANG said he needed to focus on his
        family.

        CHIANG confirmed that the outline provided to the FBI by CHIANG's attorney was all
        true and accurate. The outline was prepared by CHIANG and was CHIANG's best
        recollection of the events.

        CHIANG was hesitant to tell the truth because YUAN was very wealthy and powerful.
        YUAN was involved with some "gangsters" and CHIANG was fearful that if he told the
        truth about the arrangement between HAZENS and HUIZAR, CHIANG would be threatened.
        YUAN's friend DAVID KUO was known to be a gangster in the community. SUN mentioned
        meeting KUO at a dinner with thirty to forty people that were KUO's associates,
        sidekicks, and body men. CHIANG was worried about KUO and telling the truth would be
        going against YUAN and HAZENS.




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    EXHIBIT A-7
12/28/23,Case
         2:51 PM2:20-cr-00326-JFW Authorities
                                   Document          1228-19
                                              bust recycling       Filed
                                                             company        12/28/23
                                                                     that allegedly paid for Page     54 ofconvertors
                                                                                             stolen catalytic 185 Page ID
                                                                      #:28226
                                                                                                                   Watch Live




Authorities bust recycling company that allegedly
paid for stolen catalytic convertors
By Katy St. Clair | Published August 8, 2022 | Fremont | Bay City News |


    FREMONT, Calif. - Police in Fremont announced on Monday that a year-long
    investigation into a local recycling center has allegedly yielded stolen catalytic
    converter material and pallets containing at least 300 suspected stolen
    converters, the department said.

    Arrow Recovery, located in the 46000 block of Warm Springs Boulevard in
    Fremont, was the subject of a sting operation where an undercover officer
    allegedly sold cut catalytic converters to the business which were etched or
    marked as stolen. Detectives allege that over a several month operation, Arrow
    Recovery "repeatedly" purchased stolen converters from undercover officers.




    In June of this year, Fremont Police obtained a search warrant at the business
    where they allege they found "multiple" 55-gallon drums of refined and semi-
    refined catalytic converter material along with 300 suspected stolen converters

    Police said the goal of the sting was to shut down a "major pathway" for crimina
    to sell stolen converters.

    Currently, detectives are seeing if they can match converters to people who
    reported theirs stolen; however, due to the condition of most of them, "it is
    generally not possible to confirm the origin" of many of the recovered items,
    police said.
     LATEST STORM UPDATES                                                                                                       ×
https://www.ktvu.com/news/authorities-bust-recycling-company-that-allegedly-paid-for-stolen-catalytic-convertors                    1/2
12/28/23,Case
         2:51 PM2:20-cr-00326-JFW Authorities
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                                                                     that allegedly paid for Page     55 ofconvertors
                                                                                             stolen catalytic 185 Page ID
                   Multiple
    Police claim that  the cityevacuations,
                                   of Fremont has    high
                                                  #:28227
                                                           surfawarnings
                                                        seen                      in Santathefts
                                                                   drop in converter           Cruz over th
                   and the North Bay
    last few months,
                   The which
                       Bay Area'sthey    say got
                                  beach towns corresponds      with astheir
                                                 hammered on Thursday         investigation.
                                                                        high surf and storm surges ravaged
                               the coastline.


    The operation was a collaboration with the Fremont Fire Department, Silicon
    Valley Regional Computer Forensics Lab and the State Toxic and Hazardous
    Waste Department and is still active.

    FPD is now working with the district attorney to prosecute Arrow Recovery.

    SEE ALSO: Police pursuit on Peninsula reveals catalytic converter heist




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     LATEST STORM UPDATES                                                                                                   ×
https://www.ktvu.com/news/authorities-bust-recycling-company-that-allegedly-paid-for-stolen-catalytic-convertors                2/2
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                                  #:28231
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                                  #:28232
Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 61 of 185 Page ID
                                  #:28233
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                                  #:28234
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                                  #:28235
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                                  #:28237
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                                  #:28238
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                                  #:28241
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                                  #:28242
Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 71 of 185 Page ID
                                  #:28243
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 EXHIBIT A-10
FD-302a (Rev.Case
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                                          194B-LA-255 905 Serial   1500
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Continuation of FD-302 of (U) 02/21/2019Reeky Zheng                 ;On   02/21/2019   ; Page   2 of 9




       bottles of whiskey. ESPARZA told ZHENG that there was $250,000 in cash in the boxes.
       ZHENG observed the money in the boxes, but did not initially count the money. ZHENG
       later counted the money (all $100 bills) which was bound in $10,000 stacks (25
       stacks) contained by rubber bands and white bank slips. ZHENG could not recall if
       ESPARZA was present when ZHENG counted the money. ZHENG did recall meeting ESPARZA
       in the garage and then entering the residence and sitting with ESPARZA at a small
       table. ZHENG then observed the cash and this may have been when ZHENG counted the
       $250,000.

       ZHENG removed the cash from the boxes and placed it into ZHENG's safe located inside
       of ZHENG's residence. The boxes did not fit in the safe and ZHNEG disposed the
       boxes. ZHENG mixed ESPARZA's money with money ZHENG already had in the safe. Since
       2017, ZHENG spent some of the cash and then replenished the cash to maintain at
       least $250,000 in the safe. ZHENG understood that the $250,000 was to be returned to
       ESPARZA and/or HUIZAR at some point. The money ZHENG provided to the FBI was not the
       exact money from ESPARZA, just the amount of money.

       Approximately one month after providing the cash to ZHENG, ESPARZA disclosed where
       the money came from and why. ESPARZA told ZHENG he received the money from a friend
       or associate, but ZHENG could not recall the friend's name. ZHENG could not recall
       if a male or female provided the cash to ESPARZA. The name was not Chinese. ZHENG
       would have remembered if the friend was Chinese. ESPARZA said HUIZAR asked ESPARZA
       to obtain and store the money for HUIZAR. ZHENG believed the cash was not from a
       family member, but from a businessman. ESPARZA did not disclose why the money was
       provided to ESPARZA/HUIZAR. ESPARZA said multiple times it was for HUIZAR and ZHENG
       understood that ESPARZA would return at some point for the money. ESPARZA did not
       say when he needed the cash back.

       ESPARZA told ZHENG that he spoke to the FBI and was worried the FBI would search his
       house and find the cash. Over the past two years, ZHENG asked ESPARZA if he wanted
       the cash and ESPARZA continued to tell ZHENG to hold on to it. ESPARZA told ZHENG
       they could split the money, but ZHENG told ESPARZA he did not need cash and would
       hold onto it for ESPARZA. ESPARZA asked ZHENG to transfer the money or get rid of
       the money, but ZHENG lied and said he already did get rid of the cash. ESPARZA
       wanted ZHENG to store the money somewhere else and not keep it in ZHENG's residence.
       ZHENG understood that "get rid of the cash" did not mean to literally get rid of it,
       but to conceal the cash in a different location. ZHENG understood that ESPARZA
       wanted access to the cash and for it to be returned, but did not want ZHENG to have
       the cash at ZHENG's residence. ZHENG planned to return the cash to ESPARZA, but
       would not have given it directly to HUIZAR.

       ESPARZA told ZHENG that HUIZAR told ESPARZA to keep the money at ESPARZA's
       residence. ESPARZA received the cash for an associate, brought the cash to HUIZAR,




                                                                                          Casino 0368252
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Continuation of FD-302 of (U) 02/21/2019Ricky Zheng                 ;On   02/21/2019   ; Page   3 of 9




       and HUIZAR directed ESPARZA to keep the cash for HUIZAR until a later date. At the
       time, ZHENG did not think about whether the activity was criminal. Sitting in the
       interview today, ZHENG understood that they cash and coordination for concealing the
       cash may be criminal.

       ZHENG found the situation to be odd and did not understand everything because of the
       language differences with ESPARZA. ZHENG's English was limited. ZHENG knew ESPARZA
       worked for HUZIAR for the City of Los Angeles. ZHENG knew that HUIZAR was a
       councilman and represented Downtown Los Angeles. ZHENG knew ESPARZA was not a
       banker. ZHENG was also not a banker. ZHENG did not ask questions and agreed to
       "store" the money for ESPARZA. ZHENG understood the cash was provided to ESPARZA by
       a friend or associate, the cash belonged to HUIZAR, and ESPARZA needed ZHENG to keep
       the money for ESPARZA because of fear of the FBI. ZHENG did not believe anyone knew
       about the money expect himself, ESPARZA, and HUIZAR.

       This was not the first occasion that ESPARZA provided cash to ZHENG to "store" for
       ESPARZA. ZHENG did not care about the purpose of the cash concealment. ZHENG just
       wanted to help ESPARZA and be a good friend. ZHENG did not ask questions about the
       origin of the cash.

       WEI HUANG

       ZHENG's relationship with HUANG started as friend. HUANG later hired ZHENG around
       2016 for approximately one year. ZHENG 'was the landlord representative for both or
       HUANG's hotels. HUANG was the Chairman for SHENZHEN NEW WORLD. HUANG owned two
       hotels, LA HOTEL and UNIVERSAL SHERATON, in Los Angeles.

       JOSE HUIZAR

       ZHENG believed he met HUIZAR and ESPARZA in approximately 2013. HUANG invited HUIZAR
       to HUANG's residence and asked ZHENG to make dinner. ZHENG did not know the purpose
       of the dinner. ZHENG initially thought HUIZAR was a friend of HUANG's and did not
       know he worked for the City. ZHENG heard from HUANG that RAYMOND CHAN introduced
       HUIZAR to HUANG and that HUIZAR worked for the City. ZHENG came to know that HUIZAR
       was a Councilman and that ESPARZA worked for HUIZAR.

       ZHENG went to Las Vegas, Nevada with HUANG, HUIZAR, and ESPARZA. HUANG wanted to
       gamble and asked ZHENG to arrange the trips. HUANG provided ZHENG a list of people
       to invite.

       LAS VEGAS

       ZHENG went to Las Vegas "many many times."   The only public officials that attended
       with HUANG and ZHENG were HUIZAR and ESPARZA. On at least one occasion a retired law




                                                                                          Casino 0368253
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                                     #:28252
                                                    Linesheet - Minimization Details                                User:      Andrew Civetti


  Cae: 1948-lA-255905         Target: George Esparza       Line:                   File Number:

 Session:      4403           Times minimized:             2                    Associate ON:
 Start Time:   18:28:32 PDT   Duration minimized:          00:00:02             Monitor ID:       dmmaltinsky
 Stop Time:    18:29:46 PDT   Duration monitored:          00:01:12             In/Out Digits:    16263748770
 Date:         05/18/2017     Total Duration:              00:01:14             Subscriber:
 Direction:    Outgoing       Language:                    Unknown              Classification:   Pertinent
 Content:      Audio          Complete:                    Completed            Participants:     Esparza, George
                                                                                                  Zhena Rickv

 Comments


ISynopsis  1
  GE: I know you always have my back, but you can you make sure the Chairman doesn't tell whoever's
  translating that Jose doesn't want to pay, that George told him Jose doesn't want to pay
  RZ: No no no no no
  GE: Please bro, cuz I don't want to fuckin..
  RZ: Chairman knew already
  GE: Oh, what do you mean, he just felt it?
  RZ: Yeah, he talked to (Ul)... he said it's too expensive for him (UI) He doesn't want to pay. If he doesn't
  pay.. .he pay he say.
  GE: Oh, ok
  RZ: Chairman says if he doesn't pay he pays
  GE: If he doesn't pay then you pay? That's what he said?
  RZ: They'll make chairman pay for it, if he doesn't pay, chairman pay for it
  GE: Oh ok ok, so I just don't want him to think... l don't want Jose to find out that, what I was telling you
  RZ: Don't worry about it ok
  GE: Ok bro, you told me that before bro
  RZ: Hey before I didn't translate that, I already cover you a lot
  GE: Ok, this one is just you, right?
  RZ: Next time don't tell me anything ok? (UI) Don't let me know anything ok?
  GE: Be quiet, ok?
  RZ:No no no, (U I) I don't want to something wrong for you
  GE: No no no, it's ok
  RZ: I don't know (UI) I'm safe
  GE: I know I know
  RZ: ok?
  GE: No that's ok bro, I was (UI) on this


 Minimization Event                                         Time
 Minimize On (System)                                       18:28:32 PDT
 Minimize On (System)                                       18:28:33 PDT


 Session:    4404             Times minimized:             2                    Associate ON:
 Start Time: 18:36:42 PDT     Duration minimized:          00:00:00             Monitor ID:       dmmaltinsky
 Stop Time: 18:36:42 PDT      Duration monitored:          00:00:00             In/Out Digits:    12135005067
 Date:       05/18/2017       Total Duration:              00:00:00             Subscriber:
 Direction: Incoming          Language:                    Unknown              Classification:   Pertinent
 Content:    SMS              Complete:                    Completed            Participants:




 12/04/201 8 11 :03 :07 PST                                                                                                 913 of 1555
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                                     #:28253
                                                    Linesheet - Minimization Details                                User:      Andrew Civetti


  Cae: 1948-l.A-255905        Target George Esparza        U rw:                   FIie Number:




 Minimizati on Event                                        Time

 Minimize On (System)                                       19:05:32 PDT

 Session:      4649           Times minimized:                                  Associate ON:
 Start Time:   19:19:46 PDT   Duration minimized:          00:00:00             Monitor ID:       mhkondzielski
 Stop Time:    19:20:21 PDT   Duration monitored:                               In/Out Digits:
 Date:         05/19/2017     Total Duration:              00:00:35             Subscriber:
 Direction:    Outgoing       Language:                    Unknown              Classification:   Pertinent
 Content:      Audio          Complete:                    Completed            Participants:     Esparza, George
                                                                                                  Zhena Rickv

 Comments


Gynopsis 1
 RZ: hello
 GE: hey ricky, so it's official. I emailed you the confirmation for the three rooms.
 RZ: ok. alright, good, good, good.
 GE: Yeah. I'm looking forward to it now. Just you and me.
 RZ: alright, that was, without Jose better
 GE: yeah, it's better now.
 RZ: Its going to look really bad for chairman
 GE: huh?
 RZ: he could be very bad for chairman , for him.
 GE: I know.
 RZ: Chairman, chairman, when her gets back he going to ask him UNINT the 600,000
 GE: yeah . Good
 RZ: that's good. UNT. make it look bad shit.
 GE: we did our jobs, okay
 RZ: alright, thank you bye
 GE: alright bye




 12/04/201811 :03:09 PST                                                                                                    948 of 1555
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                                    #:28254
                                                 Linesheet - Minimization Details                                User:      Andrew Civetti


 Cae: 1948-l.A-255905      Target George Esparza        Urw: ~ 7 9              FIie Number:

 MHK

Minimizat ion Event                                      Time
Minimize On (System)                                     19:19:46 PDT

Session:    4650           Times minimized:                                  Associate ON:
Start Time: 19:21:01 PDT   Duration minimized:          00:00:00             Monitor ID:       mhkondzielski
Stop Time: 19:24:32 PDT    Duration monitored:                               In/Out Digits:
Date:       05/19/2017     Total Duration:              00:03:31             Subscriber:
Direction: Outgoing        Language:                    Unknown              Classification:   Pertinent
Content:    Audio          Complete:                    Completed            Participants:     Esparza, George


Comments


Synopsis 1




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  Extraction Report - Apple iPhone


Notes (1)
  #   Time                    Note                                                                                                  Deleted   *
  1   Created:                Title: Deputy chief is for business constituency and district director for…
      12/12/2017              Summary: community constituency
      3:44:50 PM(UTC-8)       Source: Notes
      Modified:               Body: Deputy chief is for business constituency and district director for community constituency
      12/12/2017
      7:07:51 PM(UTC-8)       I deal with the big boys. You don’t have anyone on your team that can deliver what I can.
                              Because there isn’t anyone in the city that can do what I do. Both fundraising and field operation.
                              Parties:
                              Source Extraction: File System




                                                                                                                                                  1
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                                  #:28261
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                                  #:28263
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                                  #:28264
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 EXHIBIT A-15
Student Verification - UCSB
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                                                  #:28271




                               George Esparza

                                                         Student Registration Information:
                              Quarter                                    Workload                         Standing
                              Fall 2009                                  Not Enrolled                      Senior

                              Summer 2009                                Full Time                         Senior
                              Spring 2009                                Full Time                         Senior

                              Winter 2009                                Full Time                         Senior
                              Fall 2008                                  Full Time                         Senior

                              Summer 2008                                Full Time                         Senior
                              Spring 2008                                Full Time                         Junior

                              Winter 2008                                Full Time                         Junior

                              Fall 2007                                  Full Time                         Junior
                              Spring 2007                                Full Time                         Junior

                              Winter 2007                                Full Time                         Sophomore
                              Fall 2006                                  Full Time                         Sophomore

                              Spring 2006                                Full Time                         Sophomore
                              Winter 2006                                Full Time                         Sophomore
                              Fall 2005                                  Full Time                         Freshman
                              Spring 2005                                Full Time                         Freshman
                              Winter 2005                                Full Time                         Freshman
                              Fall 2004                                  Full Time                         Freshman

                                                                     Major Information:
                              Chicana and Chicano Studies
                              Political Science




                                   To report problems email registration@sa.ucsb.edu , call (805) 893-3592, or FAX (805) 893-2985 for more information.




Student Verification - UCSB.html[10/3/2020 3:08:07 PM]
           Case
1/3/23, 9:03 PM 2:20-cr-00326-JFW                     Document 1228-19    Filed
                                                                     Student        12/28/23
                                                                             Verification - UCSB Page 100 of 185 Page ID
                                                                  #:28272




                             George Esparza

                                                      Student Registration Information:
                           Quarter                                     Workload                         Standing
                           Fall 2009                                   Not Enrolled                     Senior
                           Summer 2009                                 Full Time                        Senior
                           Spring 2009                                 Full Time                        Senior
                           Winter 2009                                 Full Time                        Senior
                           Fall 2008                                   Full Time                        Senior
                           Summer 2008                                 Full Time                        Senior
                           Spring 2008                                 Full Time                        Junior
                           Winter 2008                                 Full Time                        Junior
                           Fall 2007                                   Full Time                        Junior
                           Spring 2007                                 Full Time                        Junior
                           Winter 2007                                 Full Time                        Sophomore
                           Fall 2006                                   Full Time                        Sophomore
                           Spring 2006                                 Full Time                        Sophomore
                           Winter 2006                                 Full Time                        Sophomore
                           Fall 2005                                   Full Time                        Freshman
                           Spring 2005                                 Full Time                        Freshman
                           Winter 2005                                 Full Time                        Freshman
                           Fall 2004                                   Full Time                        Freshman

                                                                  Major Information:
                           Chicana and Chicano Studies
                           Political Science

                                                          Student Degree Information:
                           Quarter Awarded                             Date Awarded                     Degree Awarded
                                                                                                        Bachelor of Arts in Chicana
                           Summer 2021                                 09/11/21
                                                                                                        and Chicano Studies
                                                                                                        Bachelor of Arts in Political
                           Summer 2021                                 09/11/21
                                                                                                        Science




                                 To report problems email registration@sa.ucsb.edu , call (805) 893-3592, or FAX (805) 893-2985 for more information.




https://my.sa.ucsb.edu/public/verification/search.aspx                                                                                                  1/1
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                                   #:28275
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                                   #:28280
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  EXHIBIT A-17
                      * SUBJECT TO PROTECTIVE ORDER - Sensitive Material *
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                                              #:28288


                                             GEORGE E. ESPARZA


                                                      HIGHTLIGHTS

       •    Excellent written and oral communication skills .
       •    Coordinate execution of strategic initiatives .
       •    Impeccable managerial and interpersonal skills .
       •    Ability to handle a fast paced work environment.
       •    Demonstrale ability to organize and prioritize assignments .
            Ability to work strategically and collaboratively across the department.
            Excellent database management skills.


                                                   Career Path


   Special Assistant to Councilmember Jose Huizar                                               August 2009 - Present
   Councilmember Jose Huizar, 14th District                                                                     Los Angeles, CA

   Major Functions:

       •    Assist, staff, brief, and provide additional information on the Councilmember's daily meetings and events.
       •    Implementing plans and programs by being responsible for the implementation of the Councilmember's calendar
             and advancement.
       •    Active as a delegate of the Councilmember in addressing issues on his behalf.
       •    Evaluating projects by researching facts about the project and its applications, evaluation , and combining an
             analysis to show how successful and efficient the project will be.
       •    Prepare and conduct Council presentations by providing direction on resolutions and offering feedback on
             controversial ideas.
       •    Coordinate the execution of strategic initiatives.
       •    Assist the Councilmember in facilitating effective decision-making.
       •    Provide assistance and relationship building on behalf of the Councilmember to expand external partnerships and
             community opportunities.
       •    Identify and provide solutions to assist in the effectiveness of daily operational procedures.
       •    Plan and participate In public outreach activities related to community and governmental relations, Issues at local ,
             state and federal levels .


   Deputy Campaign Manager                                                             September 2014 - March 2015
   Re-election Campaign
   Councilmember Jose Huizar, 14th District                                                                    Los Angeles, CA

   Major Functions:

       •    Responsible for volunteer outreach and field operations in Boyle Heights and El Sereno Community.
       •    Managed the design and implementation of the student volunteer program with 15 local schools and recruited
             1500 students to volunteer in a 3 month period.
       •    Trained volunteers to phone bank, precinct walk, and efficiently report and tally their daily contact.
       •    Managed 30 volunteers daily and coordinated and executed phone banking operation, lawn sign operation , and
            precinct walk operation.


   Field Director                                                                      January 2011 - November 2011
   Re-election Campaign
   Councilmember Jose Huizar, 14th District                                                                    Los Angeles, CA

   Major Functions:




SUBJECT TO PROTECTIVE ORDER - Sensitive Material                                                                Casino 0011225
                    * SUBJECT TO PROTECTIVE ORDER - Sensitive Material *
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       •    Managed volunteer's daily, coordinated and executed phone banking operation, lawn sign operation, and precinct
            walk operation.
       •    Trained volunteers to phone bank, precinct walk, and efficiently report and tally their daily contact.
       •    Trained, supervised, and evaluated volunteer performance skills.

                                                     EDUCATION

   University of California, Santa Barbara                                                      May, 2009
   Bachelors: Political Science
   Minor: History                                                                                      Santa Barbara, CA


                 EXCEPTIONAL REFERENCES AVAILABLE UPON REQUEST




SUBJECT TO PROTECTIVE ORDER - Sensitive Material                                                          Casino 0011226
                 * SUBJECT TO PROTECTIVE ORDER - Sensitive Material *
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                                          #:28290




                                              George E. Esparza


                                                EDUCATION

        BACHELORS OF ARTS: Political Science (Minor: History)                            June, 2009
        University of California, Santa Barbara

                                         RELATED EXPERIENCE

        Special Assistant to Councilmember Jose Huizar                    August 2009 - Present
        Councilmember Jose Huizar, 14 th District, Los Angeles, CA

            •    Assist, staff, brief, and provide additional information on the Councilmember's daily
                meetings and events.
            •   Implementing plans and programs by being responsible for the implementation of the
                Councilmember's calendar and advancement.
            •   Active as a delegate of the Councilmember in addressing issues on his behalf.
            •   Evaluating projects by researching facts about the project and its applications,
                evaluation, and combining an analysis to show how successful and efficient the project
                will be.
            •   Prepare and conduct Council presentations by providing direction on resolutions and
                offering feedback on controversial ideas.
            •   Coordinate the execution of strategic initiatives.
            •   Assist the Councilmember in facilitating effective decision-making.
            •   Provide assistance and relationship building on behalf of the Councilmember to expand
                external partnerships and community opportunities.
            •   Identify and provide solutions to assist in the effectiveness of daily operational
                procedures.
            •   Plan and participate in public outreach activities related to community and governmental
                relations, issues at local, state and federal levels.

        Deputy Campaign Manager                                         September 2014 - March 2015
        Re-election Campaign
        Councilmember Jose Huizar, 14th District, Los Angeles, CA

            •   Responsible for volunteer outreach and field operations in Boyle Heights and El Sereno
                Community.
            •   Managed the design and implementation of the student volunteer program with 15 local
                schools and recruited l 500 students to volunteer in a 3 month period.
            •   Trained volunteers to phone bank, precinct walk, and efficiently report and tally their
                daily contact.
            •   Managed 30 volunteers daily and coordinated and executed pbone banking operation,
                lawn sign operation, and precinct walk operation.




SUBJECT TO PROTECTIVE ORDER - Sensitive Material                                                Casino 0011234
                * SUBJECT TO PROTECTIVE ORDER - Sensitive Material *
       Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 119 of 185 Page ID
                                          #:28291




        Field Director                                           January 2011 -November 2011
        Re-election Campaign
        Councilmember Jose Huizar, 14th District, Los Angeles, CA

            •   Managed volunteer's daily, coordinated and executed phone banking operation, lawn
                sign operation, and precinct walk operation.
            •   Trained volunteers to phone bank, precinct walk, and efficiently report and tally their
                daily contact.
            •   Trained, supervised, and evaluated volunteer performance skills.

                                            ADDITIONAL SKILLS

           •    Excellent written and oral communication skills.
           •    Coordinate execution of strategic initiatives.
           •    Impeccable managerial and interpersonal skills.
           •    Ability to handle a fast paced work environment.
           •    Demonstrate ability to organize and prioritize assignments.
           •    Ability to work strategically and collaboratively across the department.
           •    Excellent database management skills




SUBJECT TO PROTECTIVE ORDER - Sensitive Material                                                  Casino 0011235
                 * SUBJECT TO PROTECTIVE ORDER -                      Sensitive Material *
       Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 120 of 185 Page ID
                                          #:28292




                                         George E. Esparza

                                                EDUCATION

        BACHELORS OF ARTS: Political Science (Minor: History)                            June, 2009
        University of California, Santa Barbara

                                         RELATED EXPERIENCE

        Special Assistant to Councilmember Jose Huizar                    August 2009 - Present
        Councilmember Jose Huizar, 14th Di strict, Los Angeles, CA


            •   Oversee and manage major development projects in downtown Los Angeles.
            •    Assist, staff, brief, and provide additional information on the Councilmember's daily
                meetings and events.
            •   Responsible for the implementation of the Councilmember's calendar and managing the
                administrative team.
            •   Active as a delegate of the Councilmember in addressing district issues on his behalf.
            •   Coordinate the execution of district wide community strategic initiatives.
            •   Responsible for annual district wide Senior Emergency Preparedness program. Provide
                essential information and emergency kits to over ten thousand seniors annually.
            •   Create youth opportunities and programs for students to become active pa1ticipants in
                the community.
            •   Assist the Councilmember in facilitating effective decision-making.
            •   Provide assistance and relationship building on behalf of the Councilmember to expand
                external partnerships and community opportunities.
            •   Identify and provide solutions to assist in the effectiveness of daily operational
                procedures.
            •   Plan and participate in public outreach activities related to community and governmental
                relations, issues at local , state and federal levels.
            •   Database Management
            •   Executive team member


        Deputy Campaign Manager                                         September 2014 - March 2015
        Re-election Campaign
        Councilmember Jose Huizar, 14th District, Los Angeles, CA

            •   Responsible for volunteer outreach and field operations in B oyle Heights and El Sereno
                Community.
            •   Managed a twenty five person paid walk program.




SUBJECT TO PROTECTIVE ORDER - Sensitive Material                                                Casino 0011237
                * SUBJECT TO PROTECTIVE ORDER - Sensitive Material *
       Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 121 of 185 Page ID
                                          #:28293




            •   Managed the design and implementation of the student volunteer program with local
                schools and organizations. Recruited over 1200 students to volunteer throughout the
                campaign.
           •    Trained volunteers to phone bank, precinct walk, and efficiently report and tally their
                daily contact.
           •    Managed 30 volunteers daily and coordinated and executed phone banking operation,
                lawn sign operation, and precinct walk operation.



        Field Director                                           January 2011 - November 2011
        Re-election Campaign
        Councilmember Jose Huizar, 14th District, Los Angeles, CA

           •    Responsible for volunteer outreach in Boyle Heights.
           •    Managed volunteer's daily activities, coordinated and executed phone banking operation,
                lawn sign operation, and precinct walk operation.
           •    Trained volunteers to phone bank, precinct walk, and efficiently report and tally their
                daily contact.
            •   Trained, supervised, and evaluated volunteer performance skills.

                                            ADDITIONAL SKILLS

           ■    Coordinate the execution of strategic community initiatives.
           •    Impeccable managerial and interpersonal skills.
           ■    Ability to handle a fast paced work environment.
           •    Demonstrate ability to organize and prioritize assignments.
           ■    Ability to work strategically and collaboratively across the department.
           •    Excellent database management skills
           ■    Ability to build and retain relationships.




SUBJECT TO PROTECTIVE ORDER - Sensitive Material                                                  Casino 0011238
                 * SUBJECT TO PROTECTIVE ORDER -                        Sensitive Material *
       Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 122 of 185 Page ID
                                          #:28294




                                          George E. Esparza

                                                 EDUCATION

        BACHELORS OF ARTS: Political Science (Minor: History)                              June, 2009
        University of California, Santa Barbara

                                          RELATED EXPERIENCE

        Special Assistant to Councilmember Jose Huizar                      August 2009 - Present
        Councilmember Jose Huizar, 14th Di strict, Los Angeles, CA


            •   Executive team member (add what this means)
            •   Oversaw and managed office duties and involvement with major development projects in
                the district.
            •   Proxy to the Councilmember in addressing district issues on his behalf.
            •   Took an integral role in managing Councilmember Huizar 's daily objectives. Providing
                key details and streamlining the process for him and defining the responsibilities of other
                staff members.
            •   Assisted in office wide decision-making process alongside Council member H uizar.
                Essentially facilitated effective decision-making. Which, identified and provided
                solutions to assist in the effectiveness of daily operational procedures.
            •   Responsible for the implementation of the Councilmember' s calendar and managing the
                administrative team.
            •   Focused on creating external partnerships and community opportunities.
            •   Coordinated the execution of district wide community strategic initiatives. (Example)
            •   Responsible for annual district wide Senior Emergency Preparedness program. Provide
                essential information and emergency kits to over ten thousand seniors annually.
            •   Created youth opportunities and programs for students to become active participants in
                the community. (Example)
            •   Plan and participate in public outreach activities related to community and govemmental
                relations, issues at local, state and federal levels. (Example)


        Deputy Campaign Manager                                          September 2014 - March 2015
        Re-election Campaign
        Councilmember Jose Huizar, 14th District, Los Angeles, CA

            •   Responsible for volunteer outreach and field operations in Boyle Heights and El Sereno
                Communities.
            •   Managed a twenty-five person paid walk program.




SUBJECT TO PROTECTIVE ORDER - Sensitive Material                                                  Casino 0007170
                * SUBJECT TO PROTECTIVE ORDER - Sensitive Material *
       Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 123 of 185 Page ID
                                          #:28295




            •   Managed the design and implementation of the student volunteer program with local
                schools and organizations. Recruited over 1,200 students to volunteer throughout the
                campaign.
           •    Trained volunteers to phone bank, precinct walk, and efficiently report and tally their
                daily contact.
           •    Managed 30 volunteers daily and coordinated and executed phone banking operation,
                lawn sign operation, and precinct walk operation.



        Field Director                                           January 2011 - November 2011
        Re-election Campaign
        Councilmember Jose Huizar, 14th District, Los Angeles, CA

           •    Responsible for volunteer outreach in Boyle Heights.
           •    Managed volunteer's daily activities, coordinated and executed phone banking operation,
                lawn sign operation, and precinct walk operation.
           •    Trained volunteers to phone bank, precinct walk, and efficiently report and tally their
                daily contact.
            •   Trained, supervised, and evaluated volunteer performance skills.

                                            ADDITIONAL SKILLS

           ■    Coordinate the execution of strategic community initiatives.
           •    Impeccable managerial and interpersonal skills.
           ■    Ability to handle a fast paced work environment.
           •    Demonstrate ability to organize and prioritize assignments.
           ■    Ability to work strategically and collaboratively across the department.
           •    Excellent database management skills
           ■    Ability to build and retain relationships.




SUBJECT TO PROTECTIVE ORDER - Sensitive Material                                                  Casino 0007171
                 * SUBJECT TO PROTECTIVE ORDER -                        Sensitive Material *
       Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 124 of 185 Page ID
                                          #:28296




                                          George E. Esparza

                                                 EDUCATION

        BACHELORS OF ARTS: Political Science (Minor: History)                              June, 2009
        University of California, Santa Barbara

                                          RELATED EXPERIENCE

        Special Assistant to Councilmember Jose Huizar                      August 2009 - Present
        Councilmember Jose Huizar, 14th Di strict, Los Angeles, CA


            •   Oversaw and managed office duties and involvement with major development projects in
                the district.
            •   Proxy to the Councilmember in addressing district issues on his behalf.
            •   Took an integral role in managing Councilmember Huizar 's daily objectives. Providing
                key details and streamlining the process for him and defining the responsibilities of other
                staff members.
            •   Assisted in office wide decision-making process alongside Councilmember Huizar.
                Essentially facilitated effective decision-making. Which, identified and provided
                solutions to assist in the effectiveness of daily operational procedures.
            •   Responsible for the implementation of the Councilmember's calendar and managing the
                admin istrative team.
            •   Focused on creating external partnerships and community opportunities.
            •   Coordinated the execution of district wide commLmity strategic initiatives such as the
                Senior Citizen Emergency Preparedness Program. Provided essential information and
                emergency kits to over fifteen thousand seniors annually.
            •   Created youth opportunities and programs for students to become active participants in
                the community. Assisted the Councilman is providing internships, job placement,
                scholarships, and college field trips for our youth.
            •   Plan and participate in public outreach activities related to community and governmental
                relations. Organized and managed " CD 14 Government at your doorstep" program
                which informed constituents about city services, social programs, and community events.


        Deputy Campaign Manager                                          September 2014 - March 2015
        Re-election Campaign
        Councilmember Jose Huizar, 14th District, Los Angeles, CA

            •   Responsible for volunteer outreach and field operations in Boyle Heights and El Sereno
                Communities.
            •   Managed a twenty-five person paid walk program.




SUBJECT TO PROTECTIVE ORDER - Sensitive Material                                                  Casino 0011240
                * SUBJECT TO PROTECTIVE ORDER - Sensitive Material *
       Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 125 of 185 Page ID
                                          #:28297




            •   Managed the design and implementation of the student volunteer program with local
                schools and organizations. Recruited over 1,200 students to volunteer throughout the
                campaign.
            •   Trained volunteers to phone bank, precinct walk, and efficiently report and tally their
                daily contact.
            •   Managed 30 volunteers daily and coordinated and executed phone banking operation,
                lawn sign operation, and precinct walk operation.



        Field Director- Boyle Heights                                               November 2010-
        March 2011
        Re-election Campaign
        Councilmember Jose Huizar, 14 th District, Los Angeles, CA

            •   Responsible for volunteer outreach in Boyle Heights.
            •   Managed volunteer's daily activities, coordinated and executed phone banking operation,
                lawn sign operation, and precinct walk operation.
            •   Trained volunteers to phone bank, precinct walk, and efficiently report and tally their
                daily contact.
            •   Trained, supervised, and evaluated volunteer performance skills.

                                            ADDITIONAL SKILLS

           •    Coordinate the execution of strategic community initiatives.
           ■    Impeccable managerial and interpersonal skills.
           ■    Ability to handle a fast paced work environment.
           ■    Demonstrate ability to organize and prioritize assignments.
           •    Ability to work strategically and collaboratively across the department.
           ■    Excellent database management skills
           ■    Ability to build and retain relationships.




SUBJECT TO PROTECTIVE ORDER - Sensitive Material                                                  Casino 0011241
                 * SUBJECT TO PROTECTIVE ORDER -                        Sensitive Material *
       Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 126 of 185 Page ID
                                          #:28298




                                          George E. Esparza

                                                 EDUCATION

        BACHELOR OF ARTS: Political Science and Chicano/a Studies                          June, 2009
        University of California, Santa Barbara

                                          RELATED EXPERIENCE

        Special Assistant to Councilmember Jose Huizar                      August 2009 - Present
        Councilmember Jose Huizar, 14th Di strict, Los Angeles, CA


            •   Oversaw and managed office duties and involvement with major development projects in
                the district.
            •   Proxy to the Councilmember in addressing district issues on his behalf.
            •   Took an integral role in managing Councilmember Huizar 's daily objectives. Providing
                key details and streamlining the process for him and defining the responsibilities of other
                staff members.
            •   Assisted in office wide decision-making process alongside Councilmember Huizar.
                Essentially facilitated effective decision-making. Which, identified and provided
                solutions to assist in the effectiveness of daily operational procedures.
            •   Responsible for the implementation of the Councilmember's calendar and managing the
                admin istrative team.
            •   Focused on creating external partnerships and community opportunities.
            •   Coordinated the execution of district wide commLmity strategic initiatives such as the
                Senior Citizen Emergency Preparedness Program. Provided essential information and
                emergency kits to over fifteen thousand seniors annually.
            •   Created youth opportunities and programs for students to become active participants in
                the community. Assisted the Councilman in providing internships, job placement,
                scholarships, and college field trips for our youth.
            •   Plan and participate in public outreach activities related to community and governmental
                relations. Organized and managed " CD 14 Government at your doorstep" program
                which informed constituents about city services, social programs, and community events.



        Deputy Campaign Manager                                          September 2014 - l\llarch 2015
        Re-election Campaign
        Councilmember Jose Huizar, 14th District, Los Angeles, CA

            •   Responsible for volunteer outreach and field operations in Boyle Heights and El Sereno
                Communities.
            •   Managed a twenty-five person paid walk program.




SUBJECT TO PROTECTIVE ORDER - Sensitive Material                                                  Casino 0011243
                * SUBJECT TO PROTECTIVE ORDER - Sensitive Material *
       Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 127 of 185 Page ID
                                          #:28299




            •   Managed the design and implementation of the student volunteer program with local
                schools and organizations. Recruited over 1,200 students to volunteer throughout the
                campaign.
            •   Trained volunteers to phone bank, precinct walk, and efficiently report and tally their
                daily contact.
            •   Managed 30 volunteers daily and coordinated and executed phone banking operation,
                lawn sign operation, and precinct walk operation.



        Field Director- Boyle Heights                                               November 2010-
        March 2011
        Re-election Campaign
        Councilmember Jose Huizar, 14 th District, Los Angeles, CA

            •   Responsible for volunteer outreach in Boyle Heights.
            •   Managed volunteer's daily activities, coordinated and executed phone banking operation,
                lawn sign operation, and precinct walk operation.
            •   Trained volunteers to phone bank, precinct walk, and efficiently report and tally their
                daily contact.
            •   Trained, supervised, and evaluated volunteer performance skills.

                                            ADDITIONAL SKILLS

           •    Coordinate the execution of strategic community initiatives.
           ■    Impeccable managerial and interpersonal skills.
           ■    Ability to handle a fast paced work environment.
           ■    Demonstrate ability to organize and prioritize assignments.
           •    Ability to work strategically and collaboratively across the department.
           ■    Excellent database management skills
           ■    Ability to build and retain relationships.




SUBJECT TO PROTECTIVE ORDER - Sensitive Material                                                  Casino 0011244
Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 128 of 185 Page ID
                                   #:28300




  EXHIBIT A-18
Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 129 of 185 Page ID
                                   #:28301
Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 130 of 185 Page ID
                                   #:28302
Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 131 of 185 Page ID
                                   #:28303
Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 132 of 185 Page ID
                                   #:28304
Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 133 of 185 Page ID
                                   #:28305
Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 134 of 185 Page ID
                                   #:28306
Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 135 of 185 Page ID
                                   #:28307
Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 136 of 185 Page ID
                                   #:28308
Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 137 of 185 Page ID
                                   #:28309
Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 138 of 185 Page ID
                                   #:28310
Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 139 of 185 Page ID
                                   #:28311
Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 140 of 185 Page ID
                                   #:28312
Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 141 of 185 Page ID
                                   #:28313
Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 142 of 185 Page ID
                                   #:28314
Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 143 of 185 Page ID
                                   #:28315
Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 144 of 185 Page ID
                                   #:28316
                                            Linesheet - Minimization Details                    User:       Andrew Civetti


Cae: 1948-LA-255905        Target George Esparza   Line: -                File Number:

GE:      Yeah, he's an idiot man, I'm all like, that's why like all you've been thinking like, why we do even,
should even help her shit out, like, fucking, I'm done with this Huizar name, you know?
MA:      Yeah, and she's the fucking same man.
GE:      Uh, exactly the same.
MA:      She's tries to cover it up with her fucking nice, nice act, but it's like you're the fucking same,
you're the fucking same, you cannot do anything, you're useless, it's just...
GE:      You saw in one area of pueblo remember, how hard is it to fucking [UI] yeah, so I don't even
want them to win, to be honest. So only reason he'll do good is, like for me and Andy [UI] shit.
MA:      Yeah.
[Call UI] Call breaks in and out
GE:      You know what I mean, hello?
MA:      Hello?
GE:      I said it'll be worse cause then we don't have to worry about his diva ass.
MA:      Yup, and oh [UI] so that's the shit like I, if you're to get reelected I'd be like bro, it's not your
fucking seat anymore, let it go.
GE:      Yeah, but he'll still think it's his.
MA:      Start fucking calling him Jose, hey Jose [laughing].
GE:      No, I hate that mother, I really hate him a lot man, that like , I fucking hate him. After he pulled that
shit with me on, fucking, with, with Lilie, trying to check my phone and shit, like what the fuck bro, fucking
weirdo.
MA:      I'm glad you told him off though.
GE:      Yeah, but didn't resolve anything and then like I told you right, he told, he told me about the big,
oh uh, be careful with Jonathan you know, because I told you right, you know.
[Discussion regarding GE getting rides from Zuniga] [Call also breaks in and out]
19:00:43
GE:      I'm just really over it man, I really hope th is marijuana stuff comes in that we're, I'm trying to pull,
cause if it comes in then , if that comes in, then we're set man [UI] we'll get paid and leave this office.
[Non-pertinent conversation] [Call also breaks in and out]
[Call minimized]
[Non-pertinent conversation] [Call also breaks in and out]
19:02:59
GE:      I told you he was also like , people have been asking me, like people, Morrie has asked him, like
hey are you coming to this, like I'm like boss, they're just trying to fight for your attention you know, like,
dude I didn't coordinate with Morrie on this one, I coordinated with Jimmy Blackman [laughing], you know.
[Call breaks in and out] Yeah like, it was just like, they asked me, which lead me to believe, you know,
that you did not let them know, why would I let them know, I wasn 't coordinating with them, you know
[laughing].
[Non-pertinent conversation]
[Call minimized]
[Non-pertinent conversation]
[Call minimized]
[Non-pertinent conversation]
[Call ended]




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                                   #:28317
Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 146 of 185 Page ID
                                   #:28318
Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 147 of 185 Page ID
                                   #:28319
Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 148 of 185 Page ID
                                   #:28320
Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 149 of 185 Page ID
                                   #:28321
Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 150 of 185 Page ID
                                   #:28322




  EXHIBIT A-19
       Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 151 of 185 Page ID
                                          #:28323




  Extraction Report - Apple iPhone


Notes (1)
  #   Time                    Note                                                                                            Deleted   *
  1   Created:               Title: I manage all the chinese and foreign investors That are looking for…
      8/24/2016              Summary: business development in downtown Los Angels.
      7:17:46 AM(UTC-7)      Source: Notes
      Modified:              Body: I manage all the chinese and foreign investors That are looking for business development
      8/24/2016              in downtown Los Angels.
      7:07:50 PM(UTC-7)
                             Looking for local companies to invest and development.

                             If you look around and you see all the development happening in downtown. All these projects
                             went through our office

                             Sequa consultant - Ed Casey

                             Cancel the requirren pedestrian and did dr Lee project. Jet it go.
                             Parties:
                             Source Extraction: File System




                                                                                                                                            1
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                                   #:28324




  EXHIBIT A-20
       Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 153 of 185 Page ID
                                          #:28325




  Extraction Report - Apple iPhone


Notes (1)
  #   Time                    Note                                                 Deleted   *
  1   Created:               Title: Don't be obvious too obvious
      5/26/2017              Summary: But then y can do whatever
      9:46:13 AM(UTC-7)      Source: Notes
      Modified:              Body: Don't be obvious too obvious
      5/26/2017
      9:46:44 AM(UTC-7)      But then y can do whatever
                             Parties:
                             Source Extraction: File System




                                                                                                 1
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  EXHIBIT A-21
Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 155 of 185 Page ID
                                   #:28327
Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 156 of 185 Page ID
                                   #:28328
Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 157 of 185 Page ID
                                   #:28329
                                             Linesheet - Minimization Details                  User:      Andrew Civetti


Cae: 1948-lA-255905        Target: George Esparza   Line:                  File Number:

GE: No dude
UM: this fucking dude is mad at me about something
GE: never could I be mad at you man
UM: right on brother
GE: little baby cub, I can't be mad at a baby cub
UM: shit, I got your baby cub here
 UNT
UM: just getting out of the car, rushing to get a haircut when you're calling me
GE: ok, just been working man, been crazy I'm on a totally different level now that I'm not driving the
councilman and I'm doing so much other sites UNT. I don't even spend time at home any more.
UM: right, right. UNT My project, I'm building for Metropolitan Water District, we fired the superintendent,
so I been playing superintendent and project manager for the last two weeks, my alarm goes off at 4
o'clock, I got to be in san fernando by 6:15, I don't get home til fucking 6, 6:30. it's crazy man
UNT
GE: can you hear me, art, can you hear me, you're breaking up man,
UM: I can hear you now, hey, I called Alec and I sent him an email as well,
GE: ok cuz I saw him asking a long time ago hey, is your friend still having the wedding I haven't heard
from him
UM: No, I told him it's still on . dude I been so fucking busy but are you kidding my daughter like, dad have
you talked to him and I said yeah don't worry, we got it covered . Oh fuck, I gotta call him. It's on for sure, I
emailed him at beginning of April because I wanted to block a bunch of rooms off too. so I got to meet
with him shortly and give him a deposit, start paying that shit off.
GE: Yeah
UM: right on, dude. So, did you get invite yet, get save the date, Melissa UNT
GE: yeah, I got one UNT
UM: what you do this weekend.
GE: this weekend, no plans this weekend. I think just rest. Since elections are still around , I just been
fucking fundraising, fundraising, fundraising so i'm just trying to wind down.
UM: alright man. I might have a donor for you, what are you fundraising for right now
GE: Fundraising for a woman named mon ica rodriguez, she's running for Pacoima, over there CD 7, the
valley.
UM: dude, that's where I'm at every fucking day dude, I'm in granada hills every day.
GE: dude today's my deadline and i just need one more check
UM: oh shit, how much
GE: 700
UM: 700 alright man. I can't get you a check today, I'm at the barbershop
GE: I have a similar thing if you can make an on line donation, I'll see you on Monday, you know.
UM: ok, submit the information
GE: if you can make the online donation , I'll send you a link and do it right now and then I'll see you over
the weekend or on Monday
UM: and I just need to do it before midnight.
GE: I would love for you to do it like right now if you can
UM: I'll try from my phone, does it have to be from personal account or can it be a business donation
GE: any on-line, any credit card would be good
UM: but is it business or, it's ok then
GE: yeah it's ok. the only reason our campaign we couldn't do that was because we went over the limit
already
UM: okay send me the information i'II do it before I get a haircut




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                                   #:28330




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Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 159 of 185 Page ID
                                   #:28331
Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 160 of 185 Page ID
                                   #:28332
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                                   #:28333
Case 2:20-cr-00326-JFW Document 1228-19 Filed 12/28/23 Page 162 of 185 Page ID
                                   #:28334
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  EXHIBIT A-24
          Case
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Lobbying Fundraising                                 #:28345

Note: This report is filtered by search term used

  Quarter      Date              Lobbyist/Firm/Employer       Candidate/ Ballot Measure       Amount

  Q4-          12/06/2018        Goldman, Morrie              Harris-Dawson, Marqueece        $5,700.00
  2018                           Lobbyist with Urban          Harris-Dawson for City
                                 Solutions, LLC               Council 2020 [1410980]

  Q4-          12/06/2018        Urban Solutions, LLC         Harris-Dawson, Marqueece        $5,700.00
  2018                           Lobbying Firm                Harris-Dawson for City
                                                              Council 2020 [1410980]

  Q4-          12/06/2018        Vizcarra, Knarik             Harris-Dawson, Marqueece        $5,700.00
  2018                           Lobbyist with Urban          Harris-Dawson for City
                                 Solutions, LLC               Council 2020 [1410980]

  Q4-          10/30/2018        Goldman, Morrie              Cedillo, Gilbert                $4,800.00
  2018                           Lobbyist with Urban          Councilmember Cedillo
                                 Solutions, LLC               Officeholder Account 2013
                                                              [1360884]

  Q4-          10/30/2018        Urban Solutions, LLC         Cedillo, Gilbert                $4,800.00
  2018                           Lobbying Firm                Councilmember Cedillo
                                                              Officeholder Account 2013
                                                              [1360884]

  Q4-          10/30/2018        Vizcarra, Knarik             Cedillo, Gilbert                $4,800.00
  2018                           Lobbyist with Urban          Councilmember Cedillo
                                 Solutions, LLC               Officeholder Account 2013
                                                              [1360884]

  Q4-          10/11/2018        Goldman, Morrie              Huizar, Richelle                $4,000.00
  2018                           Lobbyist with Urban          Richelle Huizar for City
                                 Solutions, LLC               Council 2020 [1411484]

  Q4-          10/11/2018        Urban Solutions, LLC         Huizar, Richelle                $4,000.00
  2018                           Lobbying Firm                Richelle Huizar for City
                                                              Council 2020 [1411484]

  Q4-          10/11/2018        Vizcarra, Knarik             Huizar, Richelle                $4,000.00
  2018                           Lobbyist with Urban          Richelle Huizar for City
                                 Solutions, LLC               Council 2020 [1411484]




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  Quarter     Date            Lobbyist/Firm/Employer Candidate/ Ballot Measure            Amount

  Q1-         02/25/2018      Urban Solutions, LLC      Price, Curren                      $8,000.00
  2018                        Lobbying Firm             Councilmember Curren Price
                                                        Officeholder Account
                                                        [1359453]

  Q4-         12/11/2017      Urban Solutions, LLC      Cedillo, Gilbert                   $4,800.00
  2017                        Lobbying Firm             Councilmember Cedillo
                                                        Officeholder Account 2013
                                                        [1360884]

  Q4-         11/28/2017      Urban Solutions, LLC      O'Farrell, Mitch                   $8,000.00
  2017                        Lobbying Firm             Councilmember O'Farrell
                                                        Officeholder Account 2013
                                                        [1360328]

  Q4-         11/16/2017      Urban Solutions, LLC      Huizar, Jose                       $6,000.00
  2017                        Lobbying Firm             Huizar Officeholder Account
                                                        [1277167]

  Q2-         04/12/2017      Urban Solutions, LLC      Cedillo, Gilbert                   $10,000.00
  2017                        Lobbying Firm             Cedillo for City Council
                                                        General 2017 [1395362]

  Q1-         02/27/2017      Urban Solutions, LLC      Price, Curren                      $7,000.00
  2017                        Lobbying Firm             Curren Price, Jr. for City
                                                        Council 2017 [1379822]

  Q4-         12/12/2016      Urban Solutions, LLC      Huizar, Jose                       $8,000.00
  2016                        Lobbying Firm             Huizar Officeholder Account
                                                        [1277167]

  Q4-         12/05/2016      Urban Solutions, LLC      Rodriguez, Monica                  $5,000.00
  2016                        Lobbying Firm             Monica Rodriguez for City
                                                        Council 2017 [1388424]

  Q1-         02/25/2016      Urban Solutions, LLC      O'Farrell, Mitch                   $5,000.00
  2016                        Lobbying Firm             Mitch O'Farrell for City Council
                                                        2017 [1379888]

  Q1-         02/04/2016      Urban Solutions, LLC      Martinez, Nury                     $2,800.00
  2016                        Lobbying Firm             Nury Martinez for City Council
                                                        2013 Officeholder Account
                                                        [1354456]

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                                               #:28347
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  Q4-         12/10/2015      Urban Solutions, LLC      Cedillo, Gilbert                 $10,000.00
  2015                        Lobbying Firm             Cedillo for City Council 2017
                                                        [1380250]

  Q4-         12/03/2015      Urban Solutions, LLC      Huizar, Jose                     $5,000.00
  2015                        Lobbying Firm             Huizar Officeholder Account
                                                        [1277167]

  Q2-         06/16/2015      Urban Solutions, LLC      Englander, Mitchell              $9,000.00
  2015                        Lobbying Firm             Mitchell Englander for
                                                        Supervisor 2016 [1377028]

  Q4-         11/04/2014      Urban Solutions, LLC      Krekorian, Paul                  $5,000.00
  2014                        Lobbying Firm             Krekorian For City Council
                                                        2015 [1372814]

  Q4-         10/28/2014      Urban Solutions, LLC      Blumenfield, Bob                 $2,500.00
  2014                        Lobbying Firm             Bob Blumenfield for City
                                                        Council 2013 - Officeholder
                                                        Account [1358999]

  Q3-         08/28/2014      Urban Solutions, LLC      Harris-Dawson, Marqueece         $5,000.00
  2014                        Lobbying Firm             Harris-Dawson for City
                                                        Council 2015 [1360402]

  Q3-         07/24/2014      Urban Solutions, LLC      Englander, Mitchell              $5,000.00
  2014                        Lobbying Firm             Mitchell Englander for City
                                                        Council 2015 [1362652]

  Q2-         06/25/2014      Urban Solutions, LLC      Buscaino, Joe                    $3,000.00
  2014                        Lobbying Firm             Joe Buscaino for City Council,
                                                        2011, Officeholder [1342959]

  Q2-         06/18/2014      Urban Solutions, LLC      Wesson, Herb                     $5,000.00
  2014                        Lobbying Firm             Wesson for City Council 2015
                                                        [1360622]

  Q2-         06/04/2014      Urban Solutions, LLC      Cedillo, Gilbert                 $3,000.00
  2014                        Lobbying Firm             Councilmember Cedillo
                                                        Officeholder Account 2013
                                                        [1360884]




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  Quarter     Date            Lobbyist/Firm/Employer Candidate/ Ballot Measure            Amount

  Q2-         06/04/2014      Urban Solutions, LLC      Martinez, Nury                   $6,000.00
  2014                        Lobbying Firm             Nury Martinez for City Council
                                                        2015 [1360441]

  Q4-         12/17/2013      Urban Solutions, LLC      Cedillo, Gilbert                 $6,000.00
  2013                        Lobbying Firm             Councilmember Cedillo
                                                        Officeholder Account 2013
                                                        [1360884]

  Q4-         11/21/2013      Urban Solutions, LLC      Martinez, Nury                   $2,500.00
  2013                        Lobbying Firm             Nury Martinez for City Council
                                                        2013 Officeholder Account
                                                        [1354456]

  Q4-         11/19/2013      Urban Solutions, LLC      O'Farrell, Mitch                 $6,000.00
  2013                        Lobbying Firm             Councilmember O'Farrell
                                                        Officeholder Account 2013
                                                        [1360328]

  Q4-         10/23/2013      Urban Solutions, LLC      Huizar, Jose                     $12,000.00
  2013                        Lobbying Firm             Huizar for LA City Council
                                                        2015 [1360239]

  Q3-         09/04/2013      Urban Solutions, LLC      Blumenfield, Bob                 $2,500.00
  2013                        Lobbying Firm             Bob Blumenfield for City
                                                        Council 2013 - Officeholder
                                                        Account [1358999]

  Q3-         08/22/2013      Urban Solutions, LLC      Martinez, Nury                   $3,000.00
  2013                        Lobbying Firm             Nury Martinez for City Council
                                                        2013-General [1357985]

  Q3-         08/02/2013      Urban Solutions, LLC      Bonin, Mike                      $3,000.00
  2013                        Lobbying Firm             Mike Bonin for City Council
                                                        2013 Officeholder Account
                                                        [1352608]

  Q2-         06/19/2013      Urban Solutions, LLC      Cedillo, Gilbert                 $10,000.00
  2013                        Lobbying Firm             Cedillo for City Council
                                                        General 2013 [1356121]




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  Q2-         05/29/2013      Urban Solutions, LLC      Reyes, Eduardo                  $2,000.00
  2013                        Lobbying Firm             Ed Reyes Officeholder
                                                        Account [1225425]

  Q2-         05/01/2013      Urban Solutions, LLC      O'Farrell, Mitch                $5,000.00
  2013                        Lobbying Firm             Mitch O'Farrell for LA City
                                                        Council 2013 - General
                                                        [1356066]

  Q2-         04/25/2013      Urban Solutions, LLC      Garcetti, Eric                  $5,500.00
  2013                        Lobbying Firm             Garcetti for Mayor 2013 -
                                                        General [1356062]

  Q2-         04/17/2013      Urban Solutions, LLC      Garcetti, Eric                  $22,000.00
  2013                        Lobbying Firm             Garcetti for Mayor 2013 -
                                                        General [1356062]

  Q2-         04/09/2013      Urban Solutions, LLC      Englander, Mitchell             $4,000.00
  2013                        Lobbying Firm             Mitch Englander Officeholder
                                                        [1321061]

  Q2-         04/04/2013      Urban Solutions, LLC      Price, Curren                   $6,000.00
  2013                        Lobbying Firm             Curren Price for City Council
                                                        2013 - General [1356051]

  Q1-         02/21/2013      Urban Solutions, LLC      Price, Curren                   $4,000.00
  2013                        Lobbying Firm             Curren Price for City Council
                                                        2013 [1351983]

  Q1-         02/05/2013      Urban Solutions, LLC      Blumenfield, Bob                $5,000.00
  2013                        Lobbying Firm             Bob Blumenfield for City
                                                        Council 2013 [1349095]

  Q4-         12/11/2012      Urban Solutions, LLC      Buscaino, Joe                   $2,500.00
  2012                        Lobbying Firm             Buscaino for City Council
                                                        2013 [1344522]

  Q4-         11/29/2012      Urban Solutions, LLC      Price, Curren                   $5,500.00
  2012                        Lobbying Firm             Curren Price for City Council
                                                        2013 [1351983]




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  Quarter     Date            Lobbyist/Firm/Employer Candidate/ Ballot Measure            Amount

  Q4-         11/06/2012      Urban Solutions, LLC      Bonin, Mike                      $2,500.00
  2012                        Lobbying Firm             Mike Bonin for City Council
                                                        2013 [1352608]

  Q3-         08/28/2012      Urban Solutions, LLC      Perry, Jan                       $2,000.00
  2012                        Lobbying Firm             Councilmember Jan Perry's
                                                        Officeholder Account
                                                        [1223341]

  Q3-         07/31/2012      Urban Solutions, LLC      Koretz, Paul                     $3,000.00
  2012                        Lobbying Firm             Re-Elect Councilman Koretz
                                                        2013 [1346448]

  Q2-         05/18/2012      Urban Solutions, LLC      Fuentes, Felipe                  $7,000.00
  2012                        Lobbying Firm             Felipe Fuentes for City
                                                        Council 2013 [1341544]

  Q2-         04/12/2012      Urban Solutions, LLC      Reyes, Eduardo                   $5,000.00
  2012                        Lobbying Firm             Ed Reyes Officeholder
                                                        Account [1225425]

  Q1-         03/20/2012      Urban Solutions, LLC      Buscaino, Joe                    $2,500.00
  2012                        Lobbying Firm             Buscaino for City Council
                                                        2013 [1344522]

  Q1-         01/25/2012      Urban Solutions, LLC      Krekorian, Paul                  $1,875.00
  2012                        Lobbying Firm             Krekorian for City Council
                                                        2011 [1324553]

  Q1-         01/25/2012      Urban Solutions, LLC      Krekorian, Paul                  $1,500.00
  2012                        Lobbying Firm             Krekorian for City Council
                                                        2009 - Officeholder [1318897]

  Q1-         01/13/2012      Urban Solutions, LLC      Buscaino, Joe                    $7,500.00
  2012                        Lobbying Firm             Joe Buscaino for City Council,
                                                        General, 2011 [1342959]

  Q4-         12/20/2011      Urban Solutions, LLC      Fuentes, Felipe                  $2,500.00
  2011                        Lobbying Firm             Felipe Fuentes for City
                                                        Council 2013 [1341544]

  Q4-         12/06/2011      Urban Solutions, LLC      Cardenas, Tony                   $3,000.00
  2011                        Lobbying Firm             Cardenas for Congress


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                                               #:28351
  Quarter     Date            Lobbyist/Firm/Employer Candidate/ Ballot Measure            Amount

  Q4-         11/18/2011      Urban Solutions, LLC      Huizar, Jose                      $4,500.00
  2011                        Lobbying Firm             Huizar for Council 2011
                                                        [1325226]

  Q4-         11/16/2011      Urban Solutions, LLC      Rosendahl, William                $3,000.00
  2011                        Lobbying Firm             Bill Rosendahl for City Council
                                                        2013 [1341356]

  Q4-         11/09/2011      Urban Solutions, LLC      Gardea, Jose                      $10,000.00
  2011                        Lobbying Firm             Jose Gardea for Council 2013
                                                        [1341411]

  Q4-         11/02/2011      Urban Solutions, LLC      Englander, Mitchell               $4,000.00
  2011                        Lobbying Firm             Mitchell Englander for City
                                                        Council 2011 [1321061]

  Q4-         10/28/2011      Urban Solutions, LLC      Koretz, Paul                      $3,500.00
  2011                        Lobbying Firm             Paul Koretz Officeholder
                                                        [1300860]

  Q4-         10/27/2011      Urban Solutions, LLC      Huizar, Jose                      $9,000.00
  2011                        Lobbying Firm             Huizar for Council 2011
                                                        [1325226]

  Q4-         10/18/2011      Urban Solutions, LLC      Perry, Jan                        $4,000.00
  2011                        Lobbying Firm             Councilmember Jan Perry's
                                                        Officeholder Account
                                                        [1223341]

  Q3-         09/30/2011      Urban Solutions, LLC      Cardenas, Tony                    $4,000.00
  2011                        Lobbying Firm             Tony Cardenas for Congress

  Q3-         09/23/2011      Urban Solutions, LLC      Koretz, Paul                      $2,000.00
  2011                        Lobbying Firm             Paul Koretz Officeholder
                                                        [1300860]

  Q3-         09/20/2011      Urban Solutions, LLC      Zine, Dennis                      $5,000.00
  2011                        Lobbying Firm             Zine for Controller 2013
                                                        [1339692]

  Q3-         09/08/2011      Urban Solutions, LLC      Alarcon, Richard                  $4,000.00
  2011                        Lobbying Firm             Richard Alarcon Officeholder
                                                        Account [1292758]


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  Quarter     Date            Lobbyist/Firm/Employer Candidate/ Ballot Measure            Amount

  Q2-         05/26/2011      Urban Solutions, LLC      Krekorian, Paul                 $3,000.00
  2011                        Lobbying Firm             Krekorian for City Council
                                                        2011 [1324553]

  Q2-         05/17/2011      Urban Solutions, LLC      Huizar, Jose                    $4,000.00
  2011                        Lobbying Firm             Huizar for Council 2011
                                                        [1325226]

  Q2-         04/27/2011      Urban Solutions, LLC      Koretz, Paul                    $2,500.00
  2011                        Lobbying Firm             Paul Koretz Officeholder
                                                        [1300860]

  Q1-         03/29/2011      Urban Solutions, LLC      Hahn, Janice                    $5,000.00
  2011                        Lobbying Firm             Janice Hahn for Congress

  Q1-         02/24/2011      Urban Solutions, LLC      Englander, Mitchell             $4,000.00
  2011                        Lobbying Firm             Mitchell Englander for City
                                                        Council 2011 [1321061]

  Q4-         11/19/2010      Urban Solutions, LLC      Reyes, Eduardo                  $9,500.00
  2010                        Lobbying Firm             Ed Reyes Officeholder
                                                        Account [1225425]

  Q4-         11/15/2010      Urban Solutions, LLC      Huizar, Jose                    $2,500.00
  2010                        Lobbying Firm             Huizar for Council 2011
                                                        [1325226]

  Q3-         09/27/2010      Urban Solutions, LLC      Wesson, Herb                    $5,000.00
  2010                        Lobbying Firm             Wesson for City Council 2011
                                                        [1325589]

  Q3-         09/14/2010      Urban Solutions, LLC      Alarcon, Richard                $5,000.00
  2010                        Lobbying Firm             Richard Alarcon Officeholder
                                                        Account [1292758]

  Q3-         07/13/2010      Urban Solutions, LLC      Koretz, Paul                    $2,500.00
  2010                        Lobbying Firm             Paul Koretz Officeholder
                                                        [1300860]

  Q2-         06/18/2010      Urban Solutions, LLC      Reyes, Eduardo                  $3,000.00
  2010                        Lobbying Firm             Ed Reyes Officeholder
                                                        Account [1225425]



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                                               #:28353
  Quarter     Date            Lobbyist/Firm/Employer Candidate/ Ballot Measure            Amount

  Q1-         02/11/2010      Urban Solutions, LLC      Smith, Greig                    $2,500.00
  2010                        Lobbying Firm             Greig Smith Officeholder
                                                        [1253864]

  Q1-         02/10/2010      Urban Solutions, LLC      Trutanich, Carmen               $2,000.00
  2010                        Lobbying Firm             Trutanich for City Attorney
                                                        General 2009 [1316351]

  Q4-         12/14/2009      Urban Solutions, LLC      Perry, Jan                      $4,000.00
  2009                        Lobbying Firm             Councilmember Jan Perry's
                                                        Officeholder Account
                                                        [1223341]

  Q4-         12/09/2009      Urban Solutions, LLC      Huizar, Jose                    $3,500.00
  2009                        Lobbying Firm             Huizar Officeholder Account
                                                        [1277167]

  Q4-         11/17/2009      Urban Solutions, LLC      Essel, Christine                $2,000.00
  2009                        Lobbying Firm             Chris Essel for City Council
                                                        2009 - General [1321633]

  Q4-         11/10/2009      Urban Solutions, LLC      Englander, Mitchell             $3,000.00
  2009                        Lobbying Firm             Mitchell Englander for City
                                                        Council 2011 [1321061]

  Q4-         10/27/2009      Urban Solutions, LLC      Koretz, Paul                    $2,000.00
  2009                        Lobbying Firm             Paul Koretz Officeholder
                                                        [1300860]

  Q3-         09/11/2009      Urban Solutions, LLC      Alarcon, Richard                $3,500.00
  2009                        Lobbying Firm             Richard Alarcon Officeholder
                                                        Account [1292758]

  Q3-         08/07/2009      Urban Solutions, LLC      Reyes, Eduardo                  $5,000.00
  2009                        Lobbying Firm             Ed Reyes Officeholder
                                                        Account [1225425]

  Q3-         07/09/2009      Urban Solutions, LLC      Koretz, Paul                    $1,850.00
  2009                        Lobbying Firm             Paul Koretz for City Council
                                                        General 2009 [1316288]




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  Q1-         02/26/2009      Urban Solutions, LLC      Huizar, Jose                    $4,000.00
  2009                        Lobbying Firm             Huizar Officeholder Account
                                                        [1277167]

  Q4-         12/11/2008      Urban Solutions, LLC      Alarcon, Richard                $3,000.00
  2008                        Lobbying Firm             Alarcon for City Council 2009
                                                        [1312615]

  Q4-         11/06/2008      Urban Solutions, LLC      Garcetti, Eric                  $5,500.00
  2008                        Lobbying Firm             Garcetti for Council 2009
                                                        [1304681]

  Q4-         10/07/2008      Urban Solutions, LLC      Zine, Dennis                    $6,000.00
  2008                        Lobbying Firm             Zine 2009 [1305620]

  Q3-         09/17/2008      Urban Solutions, LLC      Cardenas, Tony                  $2,500.00
  2008                        Lobbying Firm             Tony Cardenas Officeholder
                                                        [1243910]

  Q3-         08/05/2008      Urban Solutions, LLC      Smith, Greig                    $1,500.00
  2008                        Lobbying Firm             Greig Smith Officeholder
                                                        [1253864]

  Q2-         06/24/2008      Urban Solutions, LLC      Perry, Jan                      $10,000.00
  2008                        Lobbying Firm             Re-Elect Jan Perry for City
                                                        Council 2009 [1300973]

  Q2-         06/23/2008      Urban Solutions, LLC      Zine, Dennis                    $2,000.00
  2008                        Lobbying Firm             Zine 2009 [1305620]

  Q2-         05/19/2008      Urban Solutions, LLC      Greuel, Wendy                   $5,500.00
  2008                        Lobbying Firm             Wendy Greuel for Controller
                                                        [1298088]

  Q4-         11/29/2007      Urban Solutions, LLC      Reyes, Eduardo                  $12,000.00
  2007                        Lobbying Firm             Committee to Re-Elect Ed P.
                                                        Reyes 2009 [1301995]

  Q3-         08/10/2007      Urban Solutions, LLC      Huizar, Jose                    $6,000.00
  2007                        Lobbying Firm             Huizar Officeholder Account
                                                        [1277167]




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  Quarter     Date            Lobbyist/Firm/Employer Candidate/ Ballot Measure            Amount

  Q3-         07/26/2007      Urban Solutions, LLC      Perry, Jan                       $7,500.00
  2007                        Lobbying Firm             Councilmember Jan Perry's
                                                        Officeholder Account
                                                        [1223341]

  Q2-         04/23/2007      Urban Solutions, LLC      Reyes, Eduardo                   $5,000.00
  2007                        Lobbying Firm             Ed Reyes Officeholder
                                                        Account [1225425]

  Q1-         02/12/2007      Urban Solutions, LLC      Wesson, Herb                     $7,500.00
  2007                        Lobbying Firm             Wesson For City Council 2007
                                                        [1283861]

  Q1-         02/06/2007      Urban Solutions, LLC      Alarcon, Richard                 $6,000.00
  2007                        Lobbying Firm             Friends of Richard Alarcon for
                                                        City Council [1292758]

  Q4-         12/12/2006      Urban Solutions, LLC      Huizar, Jose                     $15,000.00
  2006                        Lobbying Firm             Re-Elect Jose Huizar
                                                        [1291807]

  Q3-         09/28/2006      Urban Solutions, LLC      Perry, Jan                       $6,000.00
  2006                        Lobbying Firm             Councilmember Jan Perry's
                                                        Officeholder Account
                                                        [1223341]

  Q2-         06/22/2006      Urban Solutions, LLC      Reyes, Eduardo                   $4,750.00
  2006                        Lobbying Firm             Ed Reyes Officeholder
                                                        Account [1225425]

  Q2-         06/14/2006      Urban Solutions, LLC      Garcetti, Eric                   $4,000.00
  2006                        Lobbying Firm             Friends of Eric Garcetti
                                                        Officeholder [1234351]

  Q2-         05/23/2006      Urban Solutions, LLC      Smith, Greig                     $5,750.00
  2006                        Lobbying Firm             Friends to Re-elect Greig
                                                        Smith [1284674]

  Q4-         12/16/2005      Urban Solutions, LLC      Cardenas, Tony                   $5,000.00
  2005                        Lobbying Firm             Councilman Cardenas
                                                        Committee [1280168]




                                                        Total:                           $621,325.00
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          Case
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                                                     Filed 12/28/23
                                                             Fundraising Page 184 of 185 Page ID
                                               #:28356
  Quarter     Date            Lobbyist/Firm/Employer Candidate/ Ballot Measure            Amount

  Q4-         12/15/2005      Urban Solutions, LLC      Padilla, Alex                   $2,500.00
  2005                        Lobbying Firm             Padilla for Senate 2006
                                                        [1278241]

  Q4-         10/25/2005      Urban Solutions, LLC      Perry, Jan                      $5,000.00
  2005                        Lobbying Firm             Councilmember Jan Perry's
                                                        Officeholder Account
                                                        [1223341]

  Q3-         09/07/2005      Urban Solutions, LLC      Reyes, Eduardo                  $4,500.00
  2005                        Lobbying Firm             Ed Reyes Officeholder
                                                        Account [1225425]

  Q3-         08/11/2005      Urban Solutions, LLC      Huizar, Jose                    $5,000.00
  2005                        Lobbying Firm             Huizar for Council [1277167]

  Q3-         07/13/2005      Urban Solutions, LLC      Wesson, Herb                    $3,000.00
  2005                        Lobbying Firm             Wesson for City Council
                                                        [1277458]

  Q2-         05/06/2005      Urban Solutions, LLC      Villaraigosa, Antonio           $8,000.00
  2005                        Lobbying Firm             Villaraigosa for Mayor 2005 -
                                                        General [1275257]

  Q1-         03/02/2005      Urban Solutions, LLC      Zine, Dennis                    $2,500.00
  2005                        Lobbying Firm             Committee to Re-Elect Dennis
                                                        Zine [1258759]

  Q1-         02/24/2005      Urban Solutions, LLC      Perry, Jan                      $5,000.00
  2005                        Lobbying Firm             Jan Perry Re-Election
                                                        Committee [1262279]

  Q1-         01/13/2005      Urban Solutions, LLC      Parks, Bernard                  $2,500.00
  2005                        Lobbying Firm             Bernard Parks for Mayor
                                                        [1264812]

  Q4-         12/03/2004      Urban Solutions, LLC      Villaraigosa, Antonio           $5,000.00
  2004                        Lobbying Firm             Villaraigosa for Mayor 2005
                                                        [1267602]

  Q4-         11/10/2004      Urban Solutions, LLC      Garcetti, Eric                  $3,000.00
  2004                        Lobbying Firm             Committee to Elect Eric
                                                        Garcetti 2005 [1258433]


                                                        Total:                          $621,325.00
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          Case
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                                                     Filed 12/28/23
                                                             Fundraising Page 185 of 185 Page ID
                                               #:28357
  Quarter     Date            Lobbyist/Firm/Employer Candidate/ Ballot Measure            Amount

  Q4-         10/28/2004      Urban Solutions, LLC      Perry, Jan                      $1,500.00
  2004                        Lobbying Firm             Jan Perry Re-Election
                                                        Committee [1262279]

  Q3-         08/17/2004      Urban Solutions, LLC      Padilla, Alex                   $9,500.00
  2004                        Lobbying Firm             Padilla for LA City Council
                                                        [1261364]

                                                        Total:                          $621,325.00




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